Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 1 of 80 PageID #: 2869




                  EXHIBIT I
            Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 2 of 80 PageID #: 2870

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              --t                     UTILITY                                                              Attorney Docket No.              195006-009n                                                    "
              0                                                                                                                             Eric Doyon et al.
                                 PATENT APPLICATION                                                        First Inventor

                                    TRANSMITTAL                                                            Title                            POWER CYCLE CIRCUIT                                ,...
                      (Only for new nonprovisional applications under 37 CFR 1.53(b))                                                       EV671180426US                                  " .:=co
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                                    APPLICATION ELEMENTS                                                   ADDRESS TO:
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              See MPEP chapter 600 concerning utility patent application contents.                                                           Alexandria VA 22313-1450                              ~~           C')
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       1. [Z]          Fee Transmittal Form (e.g., PTO/SB/17)
                        (Submit an original and a duplicate for fee processing)
       2.D Applicant claims small entity status.
                                                                                                                       ACCOMPANYING APPLICATION PARTS                                              ...... ,-
                                                                                                                                                                                                   -           II
             See 37 CFR 1.27.                                                                                 9.   0     Assignment Papers (cover sheet & document(s))
       3 . 0 Specification                [Total Pages         23                             1
             Both the daims and abstract must start on a new page                                                         Name of Assignee          ALCATEL
                        (For information on the preferred arrangement, see MPEP 608.01(a))
       4.(2]            Drawing(s) (35 U.S.C. 113)               [Total Sheets          5         I
       5. Oath or Declaration                   [Total Sheets    4                                1        10. D         37 CFR 3.73(b) Statement                    [Z]Powerof
             a. ~ Newly executed (original or copy)                                                                       (when there is an assignee)                    Attorney
             b.   A copy from a prior application (37 CFR 1.63(d))
                            []or continuation/divisional with Box 18 completed)                               11. □ English Translation Document (if applicable)
                       i.         ~ELEIIO~ QE IN~~IQR(~}
                                  Signed statement attached deleting inventor(s)
                                  name in the prior application, see 37 CFR
                                                                                                           12. □ lnfoEjtion Disclosure Statement (PTO/SB/08 or PT0-1449)
                                                                                                                                Copies of citations attached
                                  1.63(d)(2) and 1.33(b).

       6.(2]            Application Data Sheet. See 37 CFR 1. 76                                           13. D         Preliminary Amendment
       1. □             CD-ROM or C[?-R in duplicate, large table or
                                                                                                           14.     [Z]   Return Receipt Postcard (MPEP 503)
                        ~puter Program (Appendix)                                                                         ( Should be specifically itemized)
                                  Landscape Table on CD

       8.     Nucleotide and/or Amino Acid Sequence Submission                                             15. D         Certified Copy of Priority Document(s)
              (if apOble, items a. - c. are required)                                                                     (if foreign priority is claimed)
               a.                 Computer Readable Form (CRF)
               b.                 Specification Sequence Listing on:                                          16. D      Nonpublication Request under 35 U.S.C. 122(b)(2)(B)(i).
                                                                                                                          Applicant must attach form PTO/SB/35 or equivalent.
                                i. D    CD-ROM or CD-R (2 copies); or
                                ii.D    Paper                                                              17.     [Z] Other: Credit Card Pa~ent form
                 C.         D      Statements verifying identity of above copies
           18. If a CONTINUING APPLICATION, check appropriate box, and supply the requisite information below and in the first sentence of the
       specification following the title, or in an Application Data Sheet under 37 CFR 1. 76:
                                                                                                                                                             '
               D            Continuation            D        Divisional                D      Continuation-in-part (CIP)             of prior application No.: .................................

       Prior application information:                              Examiner                                                       Art Unit:

                                                                              19. CORRESPONDENCE ADDRESS


       [Z] The address associated with Customer Number:                       I                       46361
                                                                                                                                 I        OR       D      Correspondence address below

       Name
                                   Arnold B. Silverman

       Address
       City
                                                                                       I     State     I                                        I Zip Code I
       Country                                                                       I Telephone       I                                        I Fax I
       Signature                            r,~ - .JJ- " ..,..,o      ._,.,. P.  IJ.. _                                            I Date       March 8, 2006
       Name
       <PrintfTvne\
                                        Arnold B. Silverman
                                                                             ... - -                                                             Registration No.
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       This collection of information is required by 37 CFR 1.53(b). The information is required to obtain or retain· a benefit by the public which is to file (and by the
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~sft.Eiie                  fRANstiviitfTAL·                                                  Application Number
                                                                                             Filing Date
                                                                                                                       Not yet assigned
                                                                                                                       March 8, 2006
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                             For FY 2005                                                     First Named Inventor      Eric Dovon et al.
                                                                                             Examiner Name             Not yet assigned
  D     Applicant daims small entity status. See 37 CFR 1.27
                                                                                             Art Unit                  Not yet assigned
"-TOTAL AMOUNT OF PAYMENT                          I   ($)   1000.00                         Attorney Docket No.       195006-00977                                  ~


  METHOD OF PAYMENT (check all that aooly)

 L      Check         ~ Credit Card               D Money Order LJ None                        Lother       (please identify):

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  FEE CALCULATION
 1. BASIC FILING, SEARCH, AND EXAMINATION FEES
                       FILING FEES         SEARCH FEES                                                         EXAMINATION FEES
                                                        Small Entitv                         Small Entitv                   Small Entitv
       AQQlication Time                    Ett.w          Fee IS)               Ett.w          Eti._{S}          Ett.w        Eee_{i)            Fees Paid (il
       Utility                               300             150                  500            250              200            100              1000
       Design                                200             100                  100             50              130             65
       Plant                                 200             100                  300            150              160             80
       Reissue                               300             150                  500            250              600            300
       Provisional                           200             100                    0               0               0              0
 2. EXCESS CLAIM FEES                                                                                                                                    Small Entitv
 Fee Descrii;ition                                                                                                                               Ett.w      Ett.w
 Each claim over 20 or, for Reissues, each claim over 20 and more than in the original patent             50                                                   25
 Each independent claim over 3 or, for Reissues, each independent claim more than in the original patent 200                                                  100
 Multiple dependent claims                                                                               360                                                  180
  Total Claims                         Extra Claims                Ett.w           FeePaid(i)                   Multii;ile De~ndent Claims
       20             -20 or HP=       0                     X      50        =     0                              Ett.w               Fee Paid (i)
    HP = highest number of total claims paid for, if greater than 20
  lndei;i. Claims                      Extra Claims                Ett.w           Fee Paid (i)
   3                  - 3 or HP =      0                     X     200         =    0
   HP = highest number of independent claims paid for, ir greater than 3

 3. APPLICATION SIZE FEE
    If the specification and drawings exceed 100 sheets of paper, the application size fee due is $250 ($125 for small entity)
         for each additional 50 sheets or fraction thereof. See 35 U.S.C. 41(a)(l)(G) and 37 CFR l.l6(s).
        Total Sheets                    Extra Sheets                    Number of each additional 50 or fraction thereof                Ett.w         Fee Paid (i)
                           -100 =                                /50=                  (round up to a whole number) X                             =
 4. OTHER FEE(S)                                                                                                                                      Fees Paid(i)
       Non-English Specification,                      $130 fee (no small entity discount)
       Other:
SUBMITTED BY
Signature                      n             ,J    ,o            J IL                   I   Registration No.
                                                                                            (Attorney/AQent)   22,614              Telephone
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Name {Print/Type)         Arnold B.          Silverman                                                                             Date    March 8, 2006
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Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 4 of 80 PageID #: 2872
                                                                              51236-120


                                 INFORMATION SHEET


      Title:                               Power Cycle Circuit

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      Small Entity:                        No

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Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 5 of 80 PageID #: 2873


                             POWER CYCLE CIRCUIT

     Field of the Invention

                  The present invention relates to circuits for
     controlling power cycles, and in particular, but not limited
 5   to, circuits for controlling power cycles in communication
     devices.

     Background

                  A communication network switch typically comprises
     a number of line cards having communication ports connected
10   to a communication network for transmitting and receiving
     communication data to and from the network, and a control
     processor for controlling local operations of the line card.
     A control card is also provided for monitoring and managing
     operation of the line cards.       Occasionally, events occur
15   which cause line.cards to malfunction or become inoperative,
     and in some cases line cards can be restored to their
     operative condition by a software reset which causes the
     software which controls the card to reboot.           However, in
     some situations, a software reset is insufficient to clear
20   the error, and in this case, personnel need to be dispatched
     into the field to physically inspect the switching element
     on sight and resolve the problem.         In many cases, errors can
     be cleared and line card operation restored by switching off
     power to the line card for a predetermined length of time
25   which is typically sufficient to discharge capacitive
     components on the card, and then restoring power to the
     card.   A power cycle is performed by disconnecting power to
     the card, which typically requires pulling the card out of
     the slot, waiting a few seconds, and then reinserting the
30   card into the slot to reconnect power to the card.            A
     drawback of this procedure is that personnel must physically
     visit the network element site in order to perform a power

                                        1
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 6 of 80 PageID #: 2874


     cycle on the failed line card which is both costly and time
     consuming.

     Summary of the Invention

                  According to one aspect of the present invention,
 5   there is provided an apparatus comprising:          a device; a
     controller for controlling operation of the device, and a
     switch for switchably coupling electrical power to the
     device to enable the device to operate, the controller
     including a module for controlling the switch to decouple
10   the electrical power from the device, and the apparatus
     further comprising a switch controller for controlling the
     switch to restore the electrical power to the device a
     predetermined time after the switch decouples the electrical
     power from the device.

15                In this arrangement, the controller which controls
     operation of the apparatus controls the switching off of
     power to a device to enable the device to undergo a power
     cycle, where power is shut off for a predetermined length of
     time and then restored.

20                In some embodiments, the switch controller is
     operable independently of the controller for controlling the
     switch to restore the electrical power to the device.             In
     this arrangement, the switch controller enables electrical
     power to be restored to the device if the module becomes
25   inoperative, for example in the event that power is also
     removed from the controller.

                  In some embodiments, the switch is adapted to
     switchably couple electrical power to the controller to
     enable the controller to operate, the module is arranged for
30   controlling the switch to decouple electrical power from the
     device and the controller, and the switch controller is


                                        2
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 7 of 80 PageID #: 2875


     adapted for controlling the switch to restore electrical
     power to the device and to the controller a predetermined
     time after the switch decouples the electrical power from
     the device and the controller.         In this arrangement, the
 5   module controls switching off of power to both the device
     and to itself.     The switch controller controls the switch to
     restore electrical power both to the controller and to the
     device.   This arrangement provides a simple and inexpensive
     means of implementing a power cycle capability.            For
10   example, where the app~ratus includes a switchable device,
     such as a power converter, for providing power both to the
     controller and the device, the arrangement enables a power
     cycle to be performed simply by controlling the switchable
     device.

15              In some embodiments, the apparatus comprises a
     line card for a communication system and the controller
     comprises a processor on the line card for controlling
     operation thereof.

                 In some embodiments, the controller may include an
20   interface for receiving a signal from a remote location to
     cause the controller to shut down power to the device, and
     optionally to itself.      This arrangement enables a line card
     processor to be controlled from a remote location to perform
     a power cycle on the line card, thereby obviating the need
25   for personnel to physically visit the location of the
     network element.     For example, the power cycle control
     signal may be sent remotely from a network management system
     (NMS}.    Furthermore,   since the reset is controlled by the
     line card's local processor and is performed on itself, line
30   cards can be controlled individually to reset themselves
     without effecting other line cards.




                                        3
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 8 of 80 PageID #: 2876


                 In some embodiments, the apparatus may include a
     detector for detecting a condition of the apparatus            (e.g. a
     condition of the device) and the module is responsive to the
     detection of the condition to control the switch to decouple
 5   electrical power from the device.

                 In some embodiments, the device may comprise a
     device capable of adopting different states (such as a
     memory device,   for example) and the condition is one in
     which the device becomes incapable of changing state.

10               In some embodiments, the switch controller
     comprises a timing circuit for controlling the predetermined
     length of time power to the controller is turned off, and
     for controlling the timing when power to the controller is
     restored.

15               In some embodiments, the timing circuit is
     electrically isolated from the device and/or the controller.
     For example, the timing circuit may be energized by an
     electrical power source whose voltage is higher than that
     required to drive the device and/or the controller.
20   Electrical isolation between the device and/or controller
     and the timing circuit assists in increasing the reliability
     of the system in completely removing power from the device
     and/or controller during the power cycle.

                 In some embodiments, the module for controlling
25   the switch is adapted to generate and transmit a command to
     the switch for causing the switch to decouple power to the
     device and/or controller.

                 Some embodiments of the apparatus further comprise
     a verifier or validation circuit for verifying that the
30   command is a valid command for decoupling power from the
     device and/or controller.       The verifier reduces the risk


                                        4
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 9 of 80 PageID #: 2877


     that the controiler will initiate a power cycle through a
     signal that was not intended to cause a power cycle.

                In some embodiments, the apparatus comprises a
     plurality of devices     (i.e. two or any other number) which
 5   are coupled to the switch to receive power to enable them to
     operate, and which undergo a power cycle when the switch is
     turned off.

                In some embodiments, two or more switches may be
     provided, each of which switchably couples power to a
10   different device, and are operable to perform a power cycle,
     for example, under the control of the or a controller and/or
     the or a switch controller.

                According to another aspect of the present
     invention, there is provided a circuit card comprising:              one
15   or more devices, a controller for controlling operation of
     the circuit card, and a switch responsive to a command
     received from the controller, for causing electrical power
     to at least one device to be decoupled therefrom for a
     predetermined period of time.

20              In some embodiments, the switch is responsive to
     the command for decoupling electrical power to the
     controller for a predetermined period of time.

                In some embodiments, the switch comprises a timing
     circuit.

25              In some embodiments, the timing circuit is adapted
     to transmit a signal to an electrical power device in
     response to the command, that causes the electrical power to
     be decoupled from the controller, and after the
     predetermined period of time, sends a signal to the
30   electrical power device that causes electrical power to the
     controller to be restored.

                                         5
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 10 of 80 PageID #:
                                         2878

                    In some embodiments, the electrical power device
       comprises a power converter which may or may not be located
       on the circuit card.

                    According to another aspect of the present
 5     invention, there is provided an apparatus comprising:              a
       device for performing operations associated with the
       apparatus, a switch for switchably coupling electrical power
       to the device to enable the device to operate, the device
       including a module for controlling the switch to decouple
10     electrical power from the device, and            the apparatus
       further comprising a switch controller for controlling the
       switch to restore electrical power to the device a
       predetermined time after the switch decouples electrical
       power from the device.

15                  In some embodiments, the apparatus further
       comprises an interface for receiving a control signal for
       causing the module to control the switch.

                    In some embodiments, the apparatus comprises a
       detector for detecting a condition of the apparatus, and
20     wherein the module is responsive to the detection of the
       condition to control the switch to decouple electrical power
       from the device.

                    In some embodiments, the device comprises a
       controller for controlling operation of the apparatus.

25                  In some embodiments, the device is adapted to
       perform operations associated with the apparatus,            for
       example one or more other devices associated with the
       apparatus.

                    In some embodiments, the device comprises a
30     processor or a logic device, for example a field
       programmable gate array (FPGA), an application specific

                                            6
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 11 of 80 PageID #:
                                         2879

       integrated circuit {ASIC), a programmable logi"c device {PLO)
       or a programmable logic array (PLA).

                   In some embodiments, the apparatus comprises a
       communication device, such as a line card of a network
 5     element, for example a router or network switch.

                   According to another aspect of the present
       invention, there is provided an apparatus comprising:              a
       controller for controlling operation of the apparatus; a
       switch for switchably coupling electrical power to the
10     controller; a verifier for receiving a control signal and
       verifying whether the control signal is a valid control
       signal and for controlling the switch to decouple the
       electrical power from the controller if the control signal
       is valid.

15                 Other aspects and features of the present
       invention will become apparent, to those ordinarily skilled
       in the art, upon review of the following description of the
       specific embodiments of the invention.

       Brief Description of the Drawings

20                 Examples of embodiments of the invention will now
       be described in greater detail with reference to the
       accompanying drawings,      in which:

                   Figure 1 is a block diagram of an apparatus in
       accordance with one embodiment of the present invention;

25                 Figure 2 is a block diagram of a circuit card in
       accordance with one embodiment of the present invention;

                   Figure 3 is a block diagram of an apparatus in
       accordance with one embodiment of the present invention;




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     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 12 of 80 PageID #:
                                         2880

                   Figure 4 is a block diagram of a circuit card in
       accordance with one embodiment of the present invention;

                   Figure 5 is a block diagram of a verifier in
       accordance with one embodiment of the present invention;

 5                 Figure 6 is a circuit diagram of a timing circuit
       in accordance with one embodiment of the present invention;
       and

                   Figure 7 shows an example of a timing diagram for
       illustrating operation of an embodiment of the invention.

10     Detailed Description of the Preferred Embodiments

                   Referring to Figure 1, an apparatus 100 in
       accordance with one embodiment of the present invention,
       comprises a device 105 and a controller 110 for controlling
       operation of the device.        The device 105 and controller 110
15     are enabled to operate by electrical power from an
       electrical power source 140.        A switch 120 can couple and
       decouple the electrical power to and from the device 105 and
       the controller 110.      The controller 110 includes a module
       112 for controlling the switch to decouple the electrical
20     power source 140 from the device 105 and the controller 110.
       The apparatus also includes a switch controller 130, which
       controls the switch 120 to restore the electrical power from
       the power source 140 to the device and controller after a
       predetermined time has elapsed from decoupling the
25     electrical power from the device and the controller.

                   Therefore, in operation the module 112 for
       controlling the switch 120 can issue a command to the switch
       120 to decouple the electrical power from the controller
       110, thus cutting off its own power.          The switch
30     controller 130 will restore the electrical power after a
       predetermined time has elapsed from decoupling.

                                           8
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 13 of 80 PageID #:
                                         2881

                   In this arrangement, both the controller and
       device are driven from a voltage source through a common
       switch, which therefore controls power to both elements.
       The provision of a switch controller 130 which is operable
 5     independently of the controller 110, to restore power to the
       device and controller, allows the reset or power cycle to be
       performed by the common switch, which results in power to
       both the device and the controller to be turned off for a
       period of time.      With the same arrangement, the power cycle
10     can be initiated by the controller 110.

                   In some embodiments the switch controller 130 is a
       timing circuit.      One example of a timer that can be used in
       such a timing circuit is an ICM 7555 timer.            In some
       embodiments, the timing circuit is electrically isolated
15     from the controller 110.        This may be achieved using,       for
       example, a relay switch, a transformer or an optical
       coupler.

                   In some embodiments, the timing circuit requires
       power to operate and may receive electrical power other than
20     via the switch 120.       In other embodiments, the timing
       circuit may receive power through the switch 120, and store
       electrical power to enable it to operate.

                   In some embodiments, the device includes one or
       more capacitive elements or has electrical capacitance, and
25     the predetermined period of time after which the switch
       controller 130 restores power is sufficient to allow the
       capacitive element(s) or capacitance to discharge.
       Advantageously, this provides a power cycle that enables the
       apparatus to fully power down.

30                 In some embodiments the module 112 for controlling
       the switch 120 controls the switch by sending a command to
       the switch to decouple power.            The apparatus may also

                                            9
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 14 of 80 PageID #:
                                         2882

       comprise a verifier for verifying that the command issued by
       the module 112 is a valid command for decoupling power from
       the controller 110.      Verifying that the command is a valid
       command as a pre-requisite to switching off power to the
 5     controller assists in preventing power to the controller
       from being turned off accidentally, by,          for example, an
       erroneous signal from the controller.

                   In some embodiments, the controller is a processor
       or logic device located on a line card in a communication
10     system.

                   An interface, for example, interface 150, may be
       provided for transmitting signals to the controller from
       another device and/or a remote location.           The interface may
       be used to transmit to the controller a signal for causing
15     the controller to perform a power cycle on the device and on
       itself.    In some embodiments, the apparatus may include.a
       detector for detecting a malfunction or other (fault)
       condition and the controller may be responsive to the
       detected condition to perform a power cycle.

20                 Now referring to Figure 2, a further embodiment of
       the present invention is a circuit card 200 comprising a
       controller 210, a data path 225 which includes a customer
       interface 260 and a switching fabric interface 270, a
       memory 275 and a switch 220, which is operable to switchably
25     couple/decouple an electrical power source 240 to and from
       the controller, the data path and the memory.            The switch
       220 is responsive to a command received from the controller
       210 to cause the electrical power source 240 to be decoupled
       from the controller 210, the data path 225 and the
30     memory 275 for a predetermined period of time.

                   In some embodiments the switch 220 comprises a
       timing circuit which performs a similar function to the

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     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 15 of 80 PageID #:
                                         2883

       timing circuit described with reference to Figure 1.              Some
       embodiments of the timing circuit send a signal to an
       electrical power device that causes the electrical power
       source 240 to be decoupled from the controller 210, the data
 5     path and the memory.       The timing circuit then sends another
       signal to the electrical power device after the
       predetermined period of time has elapsed that causes the
       electrical power to be restored to the controller 210.              One
       example of an electrical power device is a DC power
10     converter located either on or off the circuit card.

                   As with the apparatus described with reference to
       Figure 1, the timing circuit of the circuit card 200 may
       also be electrically isolated from the controller by any one
       or more of a relay switch, a transformer, an optical
15     coupler, or any other suitable device.

                   The circuit card 200 may also comprise a verifier
       (not shown)    for verifying that the command received from the
       controller is a valid command for decoupling the electrical
       power source 240 from the controller 210, the data path 225
20     and the memory 275.

                   An interface, for example, interface 250, may be
       provided for transmitting signals to the controller from
       another device and/or a remote location.           The interface may
       be used to transmit to the controller a signal for causing
25     the controller to perform a power cycle on elements of the
       card connected to receive power through the switch 220.               In
       some embodiments, the apparatus may include a detector for
       detecting a malfunction or other condition (e.g. fault
       condition) and the controller may be responsive to the
30     detected condition to initiate a power cycle.            For example,
       the memory or part thereof may acquire a fixed state from
       which it cannot return.       The controller or another device


                                           11
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 16 of 80 PageID #:
                                         2884

       may be operable to detect this condition, and the controller
       responds by initiating a power cycle to reset the memory, as
       required.

                    Figure 3 is a block diagram of another exemplary
 5     embodiment of the present invention.          An apparatus 300
       comprises a device 305 and a controller 310 for controlling
       operation of the device, a switch 320 for coupling an
       electrical power source 340 to the device and the
       controller, and a verifier 330 for receiving a control·
10     signal and verifying whether the control signal is a valid
       control signal.     The verifier 330 further controls the
       switch 320 to decouple the electrical power 340 from the
       controller 310 if the control signal is valid.

                    In some embodiments, the control signal is
15     received from the controller 310.          In these embodiments, the
       controller 310 is adapted to issue a command to shut down
       power to the device and to itself.          In other embodiments,
       the control signal is received from a device external of the
       apparatus.

20                  An interface,   for example, an interface 350, may
       be provided for transmitting signals to the controller from
       another device and/or a remote location.           The interface may
       be used to transmit to the controller a signal for causing
       the controller to perform a power cycle on the device and on
25     itself.     In some embodiments, the apparatus may include a
       detector for detecting a malfunction or other condition
        (e.g. fault condition) and the controller may be responsive
       to the detected condition to perform a power cycle.

                    In some embodiments, the verifier 330 comprises a
30     sequence decoder and the control signal comprises a coded
       sequence.     The sequence decoder decodes the coded sequence
       and verifies that the decoded sequence is a correct sequence

                                           12
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 17 of 80 PageID #:
                                         2885

       for decoupling the electrical power 340 fr.om the controller
       310.    The control signal may also comprise an enable
       command.     In these embodiments, the verifier 330 will only
       control the switch 320 to decouple the electrical power
 5     source 340 from the controller 310 if the decoded sequence
       is the correct sequence and the enable command is received.

                    In some embodiments, the verifier 330 also
       comprises an interface for interfacing with the controller
       310.    As with the previously described embodiments, the
10     switch 320 may comprise a timing circuit.

                    The apparatus described with reference to Figure 3
       may be located on a circuit card such as a line card in a
       communication system.       The controller may comprise a
       processor (or logic device)       for controlling and/or
15     monitoring functions of one or more components of the line
       card.

                    Figure 4 is a block diagram of a circuit card 400
       in accordance with a specific embodiment of the present
       invention.     The circuit card comprises a controller 410, a
20     verifier 430, a timing circuit 420 and a DC power converter
       440.    The DC power converter 440 and the timing circuit 420
       receive power from a power source, for example a back plane.
       The controller 410 receives electrical power from the DC
       power converter 440.       The controller 410 controls operation
25     of the circuit card 400       (for example one or more device
       thereon - not shown) and can issue a command that directs
       the timing circuit 420 to send a signal to the DC power
       converter 440 to shut down power to the controller 410 and
       one or more elements of the card that receive power from the
30     power converter.      The timing circuit 420, which is powered
       by the back plane, is adapted to then automatically send a
       second signal after a predetermined period of time to the DC


                                           13
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 18 of 80 PageID #:
                                         2886

       power converter 440 to restore power to the controller 410.
       The verifier 430 verifies that the command from the
       controller 410 is a valid command for decoupling power.                 A
       further feature of the circuit card 400 is an isolator 450
 5     which electrically isolates the timing circuit from the
       controller.     In Figure 4, the isolator 450 is positioned
       between the timing circuit 420 and the verifier 430.              The
       isolator 450 may be a relay, a transformer or an optical
       coupler or any device that will achieve the function of
10     electrically isolating the timing circuit from the other
       devices on the circuit card.

                    In this embodiment, one side of the isolator 450
        (e.g. to the left of the dashed line 470) is coupled, when
       operative, to the output side of the power converter, and
15     the other side of the isolator 450 and the timer are
       connected to receive power from the back plane.             In this
       embodiment, the power converter has a switch on the power
       input side (e.g. above the dashed line 480 in Figure 4), and
       the timing circuit is adapted to control this switch to
20     couple/decouple power to the controller and verifier and any
       other elements connected to receive power from the power
       converter.

                    In other embodiments,, the timing circuit could be
       adapted to control a switch on the output side of the power
25     converter.     In other embodiments, the power converter may
       comprise an a/c power converter, depending on the
       requirements of the system.

                    An interface, for example, an interface 460, may
       be provided for transmitting signals to the controller from
30     another device and/or a remote location.           The interface may
       be used to transmit to the controller a signal for causing
       the controller to perform a power cycle on the card.              In


                                           14
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 19 of 80 PageID #:
                                         2887

       some embodiments, the card may include a detector for
       detecting a malfunction or other condition (e.g fault
       condition) and the controller may be responsive to the
       detected condition to initiate a power cycle.

 5                 Figure 5 is a block diagram of an exemplary
       embodiment of a verifier 530 that may be used in any of the
       apparatuses or circuit cards described herein.            The verifier
       530 comprises an interface 532 for interfacing with a device
       that issues a control signal for decoupling power from a
10     controller.     The control signal received by the interface
       comprises an enable command and a coded sequence.             The coded
       sequence is decoded by a decoder 534 and both parts of the
       control signal are then processed by logic 536., which may,
       for example comprise a logic gate such as an AND gate, or
15     other logic device for performing a logical operation on the
       two signals.     If both the enable command and the decoded
       sequence are valid, the verifier 530 will issue a signal to
       a switch to decouple power from the controller.

                   The verifier may be implemented by any suitable
20     circuit, including but not limited to an FPGA (Field
       Programmable Gate Array), a Programmable Logic Device or
       Array (PLO or PLA) or other integrated circuit device.

                   Figure 6 is a circuit diagram of a timing circuit
       of a specific embodiment of the present invention that may
25     be used in any of the apparatuses or circuit cards described
       herein.

                   Referring to Figure 6, the circuit comprises an
       electrical isolator 603,       for example an optical coupler, a
       timer circuit 604, and a switch 605, which on/off controls a
30     voltage converter 606.       The timer circuit 604 is coupled to
       receive electrical power from a suitable power source,             for
       example a voltage rail 609.        The timer 604 includes a signal

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     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 20 of 80 PageID #:
                                         2888

       input 611 for receiving an input signal from the optical
       coupler 603, and an output 613 for controlling the
       switch 605.     In one embodiment, the voltage converter 606 is
       adapted to down convert an input voltage from a suitable
 5     voltage source {e.g. a back plane voltage source) to a
       reduced voltage which is suitable for energizing a
       controller, for example a processor for controlling
       functions and operations of a line card and one or more
       other device(s) of the line card.          In this embodiment, the
10     voltage converter 606 provides a reduced voltage to the
       controller (not shown) and to terminals 615,           617 coupled to
       the input side of the optical coupler 603.

                   An example of operation of the circuit of Figure 6
       will now be described with reference to the timing diagram
15     of Figure 7.

                   Referring to Figure 7, when the apparatus is to
       undergo a power cycle, the controller generates and
       transmits a signal or command to cause the power controlling
       circuitry to turn off power to the apparatus, including the
20     controller.     As indicated in the embodiments described
       above, the signal or command may be optionally verified as a
       valid signal or command for turning off power to the
       apparatus so that the signal or command or another signal
       genera~ed in response thereto is only passed to the power
25     controlling circuit if the signal is valid.            In the circuit
       of Figure 6, in response to a power cycle command from the
       controller, a switch {not shown) is closed at time to, to
       enable current to flow through the light emitting diode 619
       of the optical coupler 603.        This signal is shown as the
30     first trace 701 in Figure 7.         Light emitted by the light
       emitting diode is received by the photo detector 621 of the
       optically coupled isolator 603 and starts the timer 604 at
       time t1.    At the same time, the timer causes the voltage at

                                           16
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 21 of 80 PageID #:
                                         2889

       the output 613 to change from low to high, as shown by the
       second trace 703 in Figure 7, and this causes the switch 605
       of the voltage converter 606 to switch off power to the
       apparatus and controller, as shown by the third trace 705 in
 5     Figure 7.

                    After a predetermined time, for example four to
       five seconds,    (or any other time interval), the timer causes
       the voltage at the output 613 to change from high to low, as
       indicated by trace 703, causing the voltage converter to
10     restore power to the apparatus at time t         2,   as shown by
       trace 705.

                    In this embodiment, the switch 605 is responsive
       to a positive change in the control signal to switch off the
       power converter.      Thus,   in this embodiment, it is to be
15     noted that the power converter is responsive to a voltage of
       a larger magnitude in order to switch off power to the
       apparatus and controller, and a lower or zero voltage is
       required to cause the voltage converter to provide power to
       the apparatus and controller.         Thus, in the normal state
20     where the voltage converter supplies power to the apparatus
       and controller, no or little voltage is required from the
       output of the timer circuit.         In other embodiments, the
       switch is responsive to a negative change in the control
       signal to switch off power to the converter.             In this latter
25     embodiment, an inverter may be connected to the output 613
       of the timer circuit to invert the signal to the switch 605.




                    In other embodiments of the invention, the switch
       may be implemented to switchably couple only the controller
30     to the power source to enable the controller to undergo a
       power cycle, or the switch may be implemented to switchably
       couple one or more devices to the power source under the

                                           17
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 22 of 80 PageID #:
                                         2890

       control of the controller, and the controller may be powered
       separately and not undergo the power cycle.

                   Embodiments of the invention may be implemented in
       any apparatus or application, and are not limited to
 5     communication devices.

                   Other aspects and embodiments of the invention
       comprise any one or more features disclosed herein in
       combination with any one or more other features or a variant
       or equivalent thereof.

10                 In any of the aspects and embodiments of the
       invention disclosed herein, any one or more features may be
       omitted altogether or substituted by another feature which
       may comprise an equivalent or variant thereof.

                   What has been described is merely illustrative of
15     the application of the principles of the invention.              Other
       arrangements and methods can be implemented by those skilled
       in the art without departing from the spirit and scope of
       the present invention.




                                           18
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 23 of 80 PageID #:
                                         2891

       CLAIMS:

       1.          An apparatus comprising:

                   a device;

                   a controller for controlling operation of the
 5     device, and

                   a switch for switchably coupling electrical power
       to the device to enable the device to operate,

                   the controller including a module for controlling
       the switch to decouple·the electrical power from the device,

10                 and the apparatus further comprising a switch
       controller for controlling the switch to restore the
       electrical power to the device a predetermined time after
       the switch decouples the electrical power from the device.

       2.          An apparatus as claimed in claim 1, wherein said
15     switch controller is operable independently of said
       controller for controlling the switch to restore said
       electrical power.

       3.          An apparatus as claimed in claim 2, wherein said
       switch is adapted to switchably couple electrical power to
20     the controller to enable the controller to operate, said
       module is arranged for controlling the switch to decouple
       the electrical power from the device and the controller, and
       the switch controller is adapted for controlling the switch
       to restore the electrical power to the device and to the
25     controller a predetermined time after the switch decouples
       the electrical power from the device and the controller.

       4•          The apparatus of claim 1, wherein the switch
       controller comprises a timing circuit.



                                           19
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 24 of 80 PageID #:
                                         2892

       5.          The apparatus of claim 4, wherein the timing
       circuit is electrically isolated from the controller.

       6.          The apparatus of claim 1, wherein the device has
       capacitance and the predetermined period of time is
 5     sufficient to substantially discharge said capacitance after
       power is decoupled from the device.

       7.          The apparatus of claim 1, wherein the module for
       controlling the switch is configured to send a command to
       the switch to cause said switch to decouple said electrical
10     power.

       8.          The apparatus of claim 7,       further comprising a
       verifier for verifying that the command is a valid command
       for decoupling power from the device.

       9.          The apparatus of claim 1, further comprising a
15     power converter for receiving power from a power source and
       supplying converted power to said device, and wherein said
       switch is adapted for switchably coupling the converted
       power to said device.

       10.         The apparatus of claim 9, wherein said switch is
20     configured for switchably coupling said power converter to
       said source of electrical power.

       11.         The apparatus of claim 1, further comprising a
       substrate, and wherein said controller and said device are
       both disposed on said substrate.

25     12.         The apparatus of claim 1, wherein the device
       comprises a data storage device.

       13.         A circuit card comprising:

                   one or more devices,



                                           20
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 25 of 80 PageID #:
                                         2893

                   a controller for controlling operation of the·
       circuit card, and

                   a switch responsive to a command received from the
       controller, for causing electrical power to at least one
 5     device to be decoupled therefrom for a predetermined period
       of time.

       14.         A circuit card as claimed in claim 13, wherein
       said switch is responsive to said command for decoupling
       electrical power to said controller for a predetermined
10     period of time.

       15.          The circuit card according to claim 13, wherein
             the switch comprises a timing circuit.

       16.          The circuit card according to claim 13, wherein,
       in response to the command, the timing circuit sends a
15     signal to an electrical power device that causes the
       electrical power to be decoupled from the device and after
       the predetermined period of time sends a signal to the
       electrical power device that causes the electrical power to
       said device to be restored.

20     17.          A circuit card according to claim 13, further
       comprising a verifier for verifying that the command is a
       valid command for decoupling the electrical power from the
       controller, and wherein said verifier comprises a sequence
       decoder for decoding a coded sequence and verifying that the
25     decoded sequence is a correct sequence.

       18.          The apparatus of claim 17, wherein the verifier
       requires both the correct sequence and an enable command
       before controlling the switch to decouple the electrical
       power from at least one device.

30     19.          An a·pparatus comprising:


                                           21
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 26 of 80 PageID #:
                                         2894

                   a device for performing operations associated with
       the apparatus,

                   a switch for switchably coupling electrical power
       to the device to enable the device to operate,

 5                 the device including a module for controlling the
       switch to decouple electrical power from the device, and
                   the apparatus further comprises a switch
       controller for controlling the switch to restore electrical
       power to the device a predetermined time after the switch
10     decouples electrical power from the device.

       20.         An apparatus as claimed in claim 19, further
       comprising at least one of (a) an interface for receiving a
       control signal for causing said module to control said
       switch, and (b) a detector for detecting a condition of said
15     apparatus, and wherein said module is responsive to the
       detection of said condition to control said switch to
       decouple electrical power from said device.




                                           22
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 27 of 80 PageID #:
                                         2895


                                       Abstract

                    An apparatus comprises a controller for
       controlling operation of the apparatus and a switch for
       switchably coupling electrical power to the controller to
 5     enable the controller and apparatus to operate.             The
       controller includes a module for controlling the switch to
       decouple electrical power from the apparatus, including the
       controller, and the apparatus further comprises a switch
       controller for controlling the switch to restore electrical
10     power to the apparatus and controller a predetermined period
       of time after the switch decouples electrical power
       therefrom.      The apparatus may be embodied in a line card of
       a communication system and the controller may comprise a
       control processor for controlling local operations of the
15     line card.




                                           23
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 28 of 80 PageID #:
                                    2896




                                                     J/5

                                                                                                100
                                                                                               ~
                                                            Switch
              150                                          Controller            130
   110 ~---'-----,
                  Controller                                                           __c----...140
                             .....-----,-----112
                                  Module - - -
       L..-~-"'"T"'""'""'.....;..;..;.,,------
                                                                           120          T

          Device        1-----~



                           105
                                                 FIG.1


                                                                                                   /' 200
                                                                                                 240
                               -250                                                          ~
                                                                                          --
                       Controller
                            210                            220~        ,
                                                                  .7


                                                 \

                        Memory
                           275
                              I
                       Customer                                                    Switching
                       Interface                     Data Path                       Fabric            -



                           260                         225                         Interface           -

                                                                                         270


                                                     FIG.2
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 29 of 80 PageID #:
                                    2897


+
                                                  2/5
                                                                                               300
                                                             Verifier
                                                               330                      /
                                                                                      ___,_C:_340
                             -350
                                                                       r-320
                      Controller                                   ,v
                                                                  ,,         _ _ _ __J



                         310



                    Device _ _
                    _
                                    __J



         ,___           ___,~
                             305
                                                FIG.3



     -   ~
                    Power from Bac kpane
                                     I

                                                                                                              400
                                                                                                          /
             r-460.                             470~I                       ,.
                                                                        ,                        '.
                                                    ,.,.
                                                    I
                                                                   Timing                     DC power
     Controller                     Verifier
                                                 HT➔
         410
             ....
                         -
                         -      -
                                ,
                                      430
                                          ..       -~
                                                    I
                                                    I
                                                    I      Isolator
                                                                   Circuit
                                                                       420
                                                                                 -
                                                                                 ~
                                                                                        -
                                                                                     _:...    Converter
                                                                                             ---44 □-----
                                                                                                               \
                                                                                                               480
                                                    I       450
                                                    .
                                                    I




                                               FIG. 4
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 30 of 80 PageID #:
                                    2898




                                    3/5




               Verifier 530

                                          enable      -
                                                      ~




   Control           Interface                             Logic
   Signal
               ,..
               ~




                        532                                536
                                                                        ,..
                                                                        ~

                                                                              To
                                        Decoder       ,
                                                                        switch
                                         534


                                     FIG. 5
                    Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 31 of 80 PageID #:
                                                        2899


                                                                                                           +

      605~




                                                                                               In



                        61   Tr
                                  71
                                       V                                                               t
              PWR_CYCLE_N
                        ~

     From Controller/
         Verifier




                                                · FIG. 6

-t
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 32 of 80 PageID #:
                                    2900


+
                                           5/5




                                  I   I
                                  I   I
                                  I   I


    Controller/Verifier - - - - - - 1 ~ '                                      f 701
         0/P Current                I : ' --·- - - - - - - - - - - 4 - - - ' - L

                                                                   ,_____   _.__{703
        Timer Output   -------+---1




           Voltage to _ _____,.;.____                              -------~C105
            Controller


                                 to 11




                                          FIG. 7
     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 33 of 80 PageID #:
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       11/370,618               03/08/2006                 Eric Doyon            195006-00977                         3411

       46361            7590             06/26/2008
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                                                                                  ART UNIT                       PAPER NUMBER

                                                                                     2116



                                                                                  MAIL DATE                     DELIVERY MODE

                                                                                  06/26/2008                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
             Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 34 of 80 PageID #:
                                                 2902
                                                 Application No.         Applicant(s)

                                                                                      11/370,618                                   DOYON ET AL.
                      Office Action Summary                                          Examiner                                      Art Unit
                                                                                     Michael J. Brown                              2116
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
         A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_ MONTH(S) OR THIRTY (30) DAYS,
         WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
         - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of this communication.
         - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
         - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)IZI Responsive to communication(s) filed on 08 March 2006.
       2a)0 This action is FINAL.                                   2b)[8J This action is non-final.
           3)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims

         4)[8J Claim(s) 1-20 is/are pending in the application.
                 4a) Of the above claim(s) _ _ is/are withdrawn from consideration.
           5)0 Claim(s) _ _ is/are allowed.
           6)[8J Claim(s) 1-20 is/are rejected.
           7)0 Claim(s) _ _ is/are objected to.
           8)0 Claim(s) _ _ are subject to restriction and/or election requirement.

  Application Papers

           9)0 The specification is objected to by the Examiner.
        10)[8J The drawing(s) filed on 3/8/2006 is/are: a)O accepted or b)O objected to by the Examiner.
                  Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).
        11 )0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119

        12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All        b)O Some* c)O None of:
                  1.0 Certified copies of the priority documents have been received.
                  2.0 Certified copies of the priority documents have been received in Application No. _ _ .
                  3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                           application from the International Bureau (PCT Rule 17 .2(a)).
              *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1)   [8J   Notice of References Cited (PTO-892)                                                   4)   0   Interview Summary (PTO-413)
  2)   0     Notice of Draftsperson's Patent Drawing Review (PTO-948)                                        Paper No(s)/Mail Date. _ _ .
  3)   0     Information Disclosure Statement(s) (PTO/SB/08)                                        5)   0   Notice of Informal Patent Application
             Paper No(s)/Mail Date _ _ .                                                            6)   0   Other: _ _ .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                   Office Action Summary                                  Part of Paper No./Mail Date 20080617
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 35 of 80 PageID #:
                                    2903

 Application/Control Number: 11/370,618                                                                   Page 2
 Art Unit: 2116

                                           DETAILED ACTION



                                  Claim Rejections - 35 USC§ 103

        The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

 obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described as set
        forth in section 102 of this title, if the differences between the subject matter sought to be patented and
        the prior art are such that the subject matter as a whole would have been obvious at the time the
        invention was made to a person having ordinary skill in the art to which said subject matter pertains.
        Patentability shall not be negatived by the manner in which the invention was made.

        The factual inquiries set forth in Graham v. John Deere Co., 383 U.S. 1, 148

 USPQ 459 (1966), that are applied for establishing a background for determining

 obviousness under 35 U.S.C. 103(a) are summarized as follows:

        1.      Determining the scope and contents of the prior art.
        2.      Ascertaining the differences between the prior art and the claims at issue.
        3.      Resolving the level of ordinary skill in the pertinent art.
        4.      Considering objective evidence present in the application indicating
                obviousness or nonobviousness.

 1.     Claims1-7, 9-16, and 19-20 are rejected under 35 U.S.C. 103(a) as being

 unpatentable over O'Meany(US PGPub 2002/0023233) in view of Ginggen et

 al.[Ginggen](US PGPub 2006/0271797).

        As to claim 1, O'Meany discloses an apparatus comprising a device(remotely

 located controlled(RLC) computer 12, see Fig. 1); a controller(master controller(MC)

 computer 11, see Fig. 1) for controlling operation of the device(see paragraph 0017,

 lines 1-4 ), and a switch(power relay switch 22, see Fig. 1) for switchably coupling

 electrical power to the device to enable the device to operate(see paragraph 0018, lines

 1-3), the controller including a module(controlled computer database 26, see Fig. 1) for
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 36 of 80 PageID #:
                                    2904

 Application/Control Number: 11/370,618                                                Page 3
 Art Unit: 2116

 controlling the switch to decouple the electrical power from the device(see paragraph

 0021, lines 3-7), and the apparatus further comprising a switch controller(IA 23, see Fig.

 1) for controlling the switch to restore the electrical power to the device(see paragraph

 0018, lines 4-7). However, O'Meany fails to specifically disclose restoring the electrical

 power to the device a predetermined time after the switch decouples the electrical

 power from the device.

        Ginggen teaches restoring the electrical power(closing switch 225; see

 paragraph 0024, lines 14-15) to a device(components; see paragraph 0024, line 16) a

 predetermined time(predetermined period of time; see paragraph 0024, lines 12-13)

 after the switch decouples the electrical power from the device(see paragraph 0024,

 lines 12-16). It would have been obvious to one of ordinary skill in the art at the time the

 invention was made to combine Ginggen and O'Meany's inventions in order to restore

 power to O'Meany's RLC computer 12 after a certain amount of time has passed. The

 motivation to do so would have been to create effective power cycling functionality.

        As to claim 2, O'Meany discloses the apparatus as claimed in claim 1, wherein

 said switch controller is operable independently of said controller for controlling the

 switch to restore said electrical power(see paragraph 0018, lines 3-7).

        As to claim 3, O'Meany and Ginggen teach the apparatus as claimed in claim 2,

 wherein said switch is adapted to switchably couple electrical power to the controller to

 enable the controller to operate, said module is arranged for controlling the switch to

 decouple the electrical power from the device and the controller, and the switch

 controller is adapted for controlling the switch to restore the electrical power to the
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 37 of 80 PageID #:
                                    2905

 Application/Control Number: 11/370,618                                                   Page 4
 Art Unit: 2116

 device and to the controller(see O'Meany paragraph 0018, lines 3-7; paragraph 0021,

 lines 3-7; and paragraph 0025, lines 6-9) a predetermined time after the switch

 decouples the electrical power from the device and the controller(see Ginggen

 paragraph 0024, lines 12-16).

        As to claim 4, Ginggen teaches the apparatus of claim 1, wherein the switch

 controller comprises a timing circuit(real time clock; see paragraph 0024, line 13).

        As to claim 5, Ginggen teaches the apparatus of claim 4, wherein the timing

 circuit is electrically isolated from the controller(see paragraph 0024, lines 12-13).

        As to claim 6, Ginggen teaches the apparatus of claim 1, wherein the device has

 capacitance and the predetermined period of time is sufficient to substantially discharge

 said capacitance after power is decoupled from the device(see paragraph 0024, lines

 12-16).

        As to claim 7, O'Meany discloses the apparatus of claim 1, wherein the module

 for controlling the switch is configured to send a command to the switch to cause said

 switch to decouple said electrical power(see paragraph 0021, lines 3-7).

        As to claim 9, O'Meany discloses the apparatus of claim 1, further comprising a

 power converter for receiving power from a power source and supplying converted

 power to said device, and wherein said switch is adapted for switchably coupling the

 converted power to said device(see paragraph 0018).

        As to claim 10, O'Meany discloses the apparatus of claim 9, wherein said switch

 is configured for switchably coupling said power converter to said source of electrical

 power(see paragraph 0018).
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 38 of 80 PageID #:
                                    2906

 Application/Control Number: 11/370,618                                                 Page 5
 Art Unit: 2116

        As to claim 11, Ginggen teaches the apparatus of claim 1, further comprising a

 substrate(implantable medical device 200, see Fig. 2), and wherein a

 controller(processor 205, see Fig. 2) and said device(components; see paragraph 0024,

 line 16) are both disposed on said substrate(see Fig. 2).

        As to claim 12, O'Meany discloses the apparatus of claim 1, wherein the device

 comprises a data storage device(the device is a computer and it is well known in the art

 that computers comprise memory/data storage devices).

        As to claim 13, O'Meany discloses a circuit card comprising one or more

 devices(remotely located controlled(RLC) computer 12, see Fig. 1), a controller(master

 controller(MC) computer 11, see Fig. 1) for controlling operation of the circuit card(see

 paragraph 0017, lines 1-4 ), and a switch(power relay switch 22, see Fig. 1) responsive

 to a command received from the controller, for causing electrical power to at least one

 device to be decoupled therefrom(see paragraph 0018, lines 1-3). However, O'Meany

 fails to specifically disclose causing electrical power to at least one device to be

 decoupled therefrom for a predetermined period of time.

        Ginggen teaches causing electrical power to at least one device(components;

 see paragraph 0024, line 16) to be decoupled therefrom for a predetermined period of

 time(predetermined period of time; see paragraph 0024, lines 12-13) (see paragraph

 0024, lines 12-16). It would have been obvious to one of ordinary skill in the art at the

 time the invention was made to combine Ginggen and O'Meany's inventions in order to

 restore power to O'Meany's RLC computer 12 after a certain amount of time has
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 39 of 80 PageID #:
                                    2907

 Application/Control Number: 11/370,618                                              Page 6
 Art Unit: 2116

 passed. The motivation to do so would have been to create effective power cycling

 functionality.

        As to claim 14, Ginggen teaches the circuit card as claimed in claim 13, wherein

 said switch is responsive to said command for decoupling electrical power to said

 controller for a predetermined period of time(see paragraph 0024, lines 12-16).

        As to claim 15, Ginggen teaches the circuit card according to claim 13, wherein

 the switch comprises a timing circuit(real time clock; see paragraph 0024, line 13).

        As to claim 16, Ginggen teaches the circuit card according to claim 13, wherein,

 in response to the command, the timing circuit sends a signal to an electrical power

 device that causes the electrical power to be decoupled from the device and after the

 predetermined period of time sends a signal to the electrical power device that causes

 the electrical power to said device to be restored(see paragraph 0024, lines 12-16).

        As to claim 19, O'Meany discloses an apparatus(remotely located

 controlled(RLC) computer 12, see Fig. 1) comprising a device(master controller(MC)

 computer 11, see Fig. 1) for performing operations associated with the apparatus(see

 paragraph 0017, lines 1-4 ), a switch(power relay switch 22, see Fig. 1) for switchably

 coupling electrical power to the device to enable the device to operate, the device

 including a module(controlled computer database 26, see Fig. 1) for controlling the

 switch to decouple electrical power from the device(see paragraph 0021, lines 3-7), and

 the apparatus further comprises a switch controller(IA 23, see Fig. 1) for controlling the

 switch to restore electrical power to the device(see paragraph 0018, lines 4-7).
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 40 of 80 PageID #:
                                    2908

 Application/Control Number: 11/370,618                                               Page 7
 Art Unit: 2116

 However, O'Meany fails to specifically disclose restoring electrical power to the device a

 predetermined time after the switch decouples electrical power from the device.

        Ginggen teaches restoring the electrical power(closing switch 225; see

 paragraph 0024, lines 14-15) to a device(components; see paragraph 0024, line 16) a

 predetermined time(predetermined period of time; see paragraph 0024, lines 12-13)

 after the switch decouples the electrical power from the device(see paragraph 0024,

 lines 12-16). It would have been obvious to one of ordinary skill in the art at the time the

 invention was made to combine Ginggen and O'Meany's inventions in order to restore

 power to O'Meany's RLC computer 12 after a certain amount of time has passed. The

 motivation to do so would have been to create effective power cycling functionality.

       As to claim 20, O'Meany discloses the apparatus as claimed in claim 19, further

 comprising at least one of (a) an interface for receiving a control signal(shutdown signal;

 see paragraph 0021, line 6) for causing said module to control said switch(see

 paragraph 0021, lines 4-7), and (b) a detector for detecting a condition of said

 apparatus, and wherein said module is responsive to the detection of said condition to

 control said switch to decouple electrical power from said device.




 2.     Claims 8, 17, and 18 are rejected under 35 U.S.C. 103(a) as being unpatentable

 over O'Meany(US PGPub 2002/0023233) in view of Ginggen et al.[Ginggen](US PGPub

 2006/0271797), and further in view of Kobayashi(US Patent 6,625,739).
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 41 of 80 PageID #:
                                    2909

 Application/Control Number: 11/370,618                                             Page 8
 Art Unit: 2116

       As to claim 8, O'Meany and Ginggen teach the apparatus as cited in claim 7;

 however, O'Meany and Ginggen fail to specifically teach the apparatus further

 comprising a verifier for verifying that the command is a valid command for decoupling

 power from the device.

        Kobayashi teaches a verifier for verifying that the command is a valid

 command(power-off command; see column 9, line 67) for decoupling power from the

 device(see column 9, lines 63-67). It would have been obvious to one of ordinary skill in

 the art at the time the invention was made to combine Kobayashi's invention with

 O'Meany and Ginggen's invention in order to assure that decoupling power to the RLC

 computer 12 is necessary. The motivation to do so would be to prevent unnecessary

 power cycling.

       As to claim 17, O'Meany and Ginggen teach the circuit card as cited in claim 13;

 however, O'Meany and Ginggen fail to specifically teach the circuit card further

 comprising a verifier for verifying that the command is a valid command for decoupling

 the electrical power from the controller, and wherein said verifier comprises a sequence

 decoder for decoding a coded sequence and verifying that the decoded sequence is a

 correct sequence.

        Kobayashi teaches a verifier for verifying that the command is a valid

 command(power-off command; see column 9, line 67) for decoupling the electrical

 power from the controller, and wherein said verifier comprises a sequence decoder for

 decoding a coded sequence and verifying that the decoded sequence is a correct

 sequence(see column 9, lines 63-67). It would have been obvious to one of ordinary
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 42 of 80 PageID #:
                                    2910

 Application/Control Number: 11/370,618                                            Page 9
 Art Unit: 2116

 skill in the art at the time the invention was made to combine Kobayashi's invention with

 O'Meany and Ginggen's invention in order to assure that decoupling power to the RLC

 computer 12 is necessary. The motivation to do so would be to prevent unnecessary

 power cycling.

        As to claim 18, Kobayashi teaches the apparatus of claim 17, wherein the verifier

 requires both the correct sequence and an enable command before controlling the

 switch to decouple the electrical power from at least one device(see column 9, lines 63-

 67).



                                       Conclusion

        Any inquiry concerning this communication or earlier communications from the

 examiner should be directed to Michael J. Brown whose telephone number is (571 )272-

 5932. The examiner can normally be reached Monday-Thursday from 7:00am-5:30pm.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

 supervisor, Rehana Perveen can be reached on (571 )272-3676. The fax phone number

 for the organization where this application or proceeding is assigned is 571-273-8300.
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 43 of 80 PageID #:
                                    2911

 Application/Control Number: 11/370,618                                           Page 10
 Art Unit: 2116

        Information regarding the status of an application may be obtained from the

 Patent Application Information Retrieval (PAIR) system. Status information for

 published applications may be obtained from either Private PAIR or Public PAIR.

 Status information for unpublished applications is available through Private PAIR only.

 For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

 you have questions on access to the Private PAIR system, contact the Electronic

 Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

 USPTO Customer Service Representative or access to the automated information

 system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




 Michael J. Brown
 Art Unit 2116


 /Thuan N. Du/
 Primary Examiner, Art Unit 2116
              Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 44 of 80 PageID #:
                                                  2912
                                                                                     Application/Control No.              Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      11/370,618                          DOYON ET AL.
                  Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      Michael J. Brown                    2116

                                                                           U.S. PATENT DOCUMENTS
                        Document Number                    Date
 *                Country Code-Number-Kind Code          MM-YYYY                                     Name                                      Classification

 *       A      US-2002/0023233                         02-2002           O'Meany, Francisco                                                     713/300

 *       B      US-2006/0271797                         11-2006           Ginggen et al.                                                         713/300

 *       C      US-6,625, 739                           09-2003           Kobayashi, Yasuhiro                                                    713/310

 *       D      US-2006/0277421                         12-2006           Balestriere, James                                                     713/300

         E      US-

         F      US-

         G      US-

         H      US-

          I     US-

         J      US-

         K      US-

         L      US-

         M      US-

                                                                       FOREIGN PATENT DOCUMENTS
                        Document Number                    Date
 *                Country Code-Number-Kind Code          MM-YYYY                  Country                       Name                           Classification

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*A copy of this reference Is not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.
U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                        Part of Paper No. 20080617
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 45 of 80 PageID #:
                                    2913



             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


 Appl. No.           11/370,618                     Confirmation No.    3411
 Applicant           Eric Doyon et al.
 Filed               03/08/2006
 TC/A.U.             2116
 Examiner            Brown, Michael J.

 Docket No.          195006-00977
 Customer No.        46361

                                          RESPONSE

 Mail Stop Amendment                                               September 25, 2008
 Commissioner for Patents
 P.O. Box 1450
 Alexandria, VA 22313-14 5 0

 Dear Sir:


        In response to the Office Action of June 26, 2008, the following remarks are submitted:


        Remarks/Arguments begin on page 2 of this paper.




                                                1
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 46 of 80 PageID #:
                                    2914
 Appl. No. 11/3 70,618



                                    REMARKS/ARGUMENTS


 Claims 1 to 20 are pending in this application.


 Claims 1 to 20 are rejected.


 35 U.S.C. § 103(a) Rejections


 Claims 1-7, 9-16 and 19-20 are rejected under 35 U.S.C. § 103(a) on the ground of being
 unpatentable over U.S. Patent Application Publication No. 2002/0023233 to O'Meany
 (hereinafter "O'Meany") in view of U.S. Patent Application Publication No. 2006/0271797 to
 Ginggen et al. (hereinafter "Ginggen").


 Claims 8, 17 and 18 are rejected under 35 U.S.C. § 103(a) on the ground of being unpatentable
 over O'Meany in view of Ginggen and further in view of U.S. Patent No. 6,625,739 to
 Kobayashi (hereinafter "Kobayashi").


 Applicant respectfully traverses these rejections for the reasons that follow.


 The Supreme Court in KSR International Co. v. Teleflex Inc. (KSR), 82 USPQ2d 1385 (2007)
 reaffirmed the framework for determining obviousness as set forth in Graham v. John Deere Co.
 (383 U.S. 1, 148 USPQ 459 (1966)). Obviousness is a question oflaw based on underlying
 factual inquiries. The factual inquiries enunciated by the Court are as follows:


 (A) Ascertaining the scope and content of the prior art;
 (B) Ascertaining the differences between the claimed invention and the prior art; and
 (C) Resolving the level of ordinary skill in the pertinent art.




                                                    2
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 47 of 80 PageID #:
                                    2915
 Appl. No. 11/3 70,618



 Scope and Content of the Prior Art


 With respect to the scope and content of the prior art, it is respectfully submitted that the
 Examiner has erred in ascertaining the scope of O 'Meany and Ginggen for the reasons that
 follow.


 With respect to claim 1, the Examiner alleges that O'Meany discloses an apparatus comprising a
 device; a controller for controlling operation of the device, and a switch for switchably coupling
 power to the device to enable the device to operate, the controller including a module for
 controlling the switch to decouple the electrical power from the device, and the apparatus further
 comprising a switch controller for controlling the switch to restore the electrical power to the
 device.


 Applicants respectfully disagree. Even if the components of O 'Meany could be interpreted as
 disclosing the elements claimed in claim 1, they are not part of one apparatus. They are separate
 remote devices. For example, MC 11, which the Examiner has equated with the controller, is not
 part of the same apparatus as RLC 12, which the Examiner has equated with the device.
 Likewise, the power relay switch 22 and IA 23 are part of local controller 31, which is also a
 separate apparatus.


 Claim 13 claims a circuit card comprising similar elements as the apparatus of claim 1.
 O'Meany certainly does not disclose all of the elements, i.e MC 11, RLC 12, power relay switch
 22, IA 23 and database 26, on a circuit card.


 With respect to independent claim 19, the examiner indicates that the RLC of O'Meany discloses
 the apparatus and that the MC 11 discloses the device. This is contradictory to the Examiner's
 analysis of this reference given with respect to claim 1.


 Furthermore, the Examiner indicates that database 26 discloses the module for controlling the
 switch to decouple. However, the database 26 simply contains information used by MC 11 to
 generate a shutdown signal (paragraph [0021] lines 4 to 6 of O'Meany). The database does not



                                                   3
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 48 of 80 PageID #:
                                    2916
 Appl. No. 11/3 70,618



 control the switch to decouple and therefore can not be equated with the module recited in claim
 1. In O 'Meany, it is the RLC itself that controls the switch for decoupling. MC 11 sends a
 shutdown signal to IA 23, which in tum sends the signal to the RLC. The RLC initiates an
 orderly shutdown routine and then sends a safe-to-shut down signal to relay 22. See paragraphs
 21 and 22 of O'Meany.


 The Examiner correctly indicates that O'Meany does not disclose that the switch controller
 controls the switch to restore electrical power to the device a predetermined time after the switch
 decouples the electrical power from the device. However, the Examiner cites Ginggen as
 disclosing this feature. The Examiner indicates that the motivation to combine O'Meany and
 Ginggen is to create effective power cycling functionality. However, it is respectfully submitted
 that there is no suggestion in either reference of power cycling functionality. It is respectfully
 submitted that to cite power cycling functionality as the motivation to combine these to
 references is to use hindsight analysis, which is not permissible. Only after reading the
 applicants disclosure would one be motivated to combine all of the elements claimed in claim 1.


 Therefore, it is respectfully submitted that the Examiner has failed to meet at least the first part
 of the test from KSR with respect to independent claims 1, 13 and 19. The dependent claims
 include all of the features of their respective independent claims and therefore the same
 arguments apply. Further errors were made in interpreting the cited references as disclosing the
 limitations of at least the following dependent claims as well.


 Regarding claim 2, in O'Meany, IA 23 does not operate independently of the MC 11 for
 controlling the power relay switch 22. In O'Meany paragraphs 21 and 22, the IA 23 is described
 as directing the relay 22 to disconnect power in dependence on a shutdown signal generated by
 the MC computer 11.


 Claim 3 recites that the module controls the switch to decouple the electrical power from both
 the device and the controller and that the switch controller is adapted for controlling the switch to
 restore power to both the device and the controller. It is respectfully submitted that nowhere in
 O'Meany is it disclosed that the electrical power is decoupled and restored to both the RLC and



                                                   4
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 49 of 80 PageID #:
                                    2917
 Appl. No. 11/3 70,618



 the MC. The power relay switch 22 has no ability to decouple or restore power to MC 11, which
 the Examiner has equated to the controller. Likewise, claim 14 recites the switch being
 responsive to a command to decouple power from the controller.


 With respect to claims 4 and 15, it is submitted that the real time clock disclosed in Ginggen is
 not part of a switch.


 With respect to claim 5, the cited portion of Ginggen does not disclose electrically isolating the
 real time clock.


 With respect to claim 6, there is no mention in Ginggen of the capacitance of the device, let
 alone a predetermined period of time sufficient to substantially discharge the capacitance after
 power is decoupled.


 With respect to claim 7, the Examiner has equated the database 26 with the module and it
 respectfully submitted that a database can not be configured to send a command.


 With respect to claim 9, the cited portion of O'Meany discloses a power source and not a power
 converter.


 With respect to claim 11, the Examiner indicates that the medical device 200 of Ginggen is a
 substrate having a controller and said device disposed thereon. However, in claim 13, "said
 controller and said device are both disposed on said substrate". The controller and device
 recited in claim 13 refer back to those recited in claim 1, which the Examiner has equated with
 MC 11 and RLC 12 of O'Meany. It is respectfully submitted that MC 11 and RLC 12 from
 O'Meany could not be disposed on a medical device such as that disclosed in Ginggen.
 Examples given for medical device are implantable medical devices such as a drug infusion
 pump, stimulator or sensor.


 With respect to claim 20, the Examiner has not shown where either of the references discloses a
 detector for detecting a condition.



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Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 50 of 80 PageID #:
                                    2918
 Appl. No. 11/3 70,618




 With respect to claims 8, 17 and 18, Kobayashi is cited as teaching a verifier. While Applicants
 do not concede that Kobayashi teaches all of the limitations of the verifier recited in these
 claims, it is submitted that in any event, Kobayashi does not cure the defects in O'Meany and
 Ginggen with respect to independent claims 1 and 13, from which these claims depend.


 Differences between the Claimed Invention and the Prior art


 Many differences between the claimed invention and the cited references are described above.
 For example, the cited references do not disclose all of the components as part of an apparatus or
 circuit card, as claimed in the independent claims. The references do not disclose a switch
 controller operating independently of a controller for controlling the switch to decouple, as
 claimed in dependent claim 2. As well, the references do not disclose the predetermined period
 of time being sufficient to discharge capacitance, as claimed in claim 6. In view of these, as well
 as other differences, it is respectfully submitted that the Examiner has erred in not properly
 ascertaining these differences.


 Person Skilled in the Art


 The Examiner has not addressed the level of ordinary skill in the pertinent art and therefore has
 failed to meet this part of the test from KSR.


 Conclusion


 For at least the reasons given above, it is respectfully requested that the rejections under 35
 U.S.C. § 103(a) be withdrawn.




                                                   6
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 51 of 80 PageID #:
                                    2919
 Appl. No. 11/3 70,618



 In view of the foregoing, favourable consideration and allowance of this application are
 respectfully requested.


 Reconsideration and early allowance are requested.


                                              Respectfully submitted,

                                              ERIC DOYON et al.

                                              By       /Kirk D. Houser/
                                                       Kirk D. Houser
                                                       Reg. No. 37,357
                                                       Tel.: 412-566-6083
 Date: September 25, 2008




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     Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 52 of 80 PageID #:
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                                                                                   www.uspto.gov




   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       11/370,618               03/08/2006                 Eric Doyon            195006-00977                         3411

       46361            7590             01/05/2009
                                                                                                  EXAMINER
       ECKERT SEAMANS CHERIN & MELLOTT, LLC.
       600 GRANT STREET, 44TH FLOOR                                                         BROWN, MICHAEL J
       PITTSBURGH, PA 15219
                                                                                  ART UNIT                       PAPER NUMBER

                                                                                     2116



                                                                                  MAIL DATE                     DELIVERY MODE

                                                                                  01/05/2009                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
             Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 53 of 80 PageID #:
                                                 2921
                                                 Application No.         Applicant(s)

                                                                                      11/370,618                                   DOYON ET AL.
                      Office Action Summary                                          Examiner                                      Art Unit
                                                                                     Michael J. Brown                              2116
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
         A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE ;l_ MONTH(S) OR THIRTY (30) DAYS,
         WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
         - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of this communication.
         - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
         - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

  Status

           1)IZI Responsive to communication(s) filed on 25 September 2008.
       2a)0 This action is FINAL.                                   2b)[8J This action is non-final.
           3)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                  closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims

         4)[8J Claim(s) 1-20 is/are pending in the application.
                 4a) Of the above claim(s) _ _ is/are withdrawn from consideration.
           5)0 Claim(s) _ _ is/are allowed.
           6)[8J Claim(s) 1-20 is/are rejected.
           7)0 Claim(s) _ _ is/are objected to.
           8)0 Claim(s) _ _ are subject to restriction and/or election requirement.

  Application Papers

           9)0 The specification is objected to by the Examiner.
        10)[8J The drawing(s) filed on 08 March 2006 is/are: a)IZ! accepted or b)O objected to by the Examiner.
                  Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).
        11 )0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119

        12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
              a)O All        b)O Some* c)O None of:
                  1.0 Certified copies of the priority documents have been received.
                  2.0 Certified copies of the priority documents have been received in Application No. _ _ .
                  3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                           application from the International Bureau (PCT Rule 17 .2(a)).
              *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1)   [8J   Notice of References Cited (PTO-892)                                                   4)   0   Interview Summary (PTO-413)
  2)   0     Notice of Draftsperson's Patent Drawing Review (PTO-948)                                        Paper No(s)/Mail Date. _ _ .
  3)   0     Information Disclosure Statement(s) (PTO/SB/08)                                        5)   0   Notice of Informal Patent Application
             Paper No(s)/Mail Date _ _ .                                                            6)   0   Other: _ _ .

U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                   Office Action Summary                                  Part of Paper No./Mail Date 20081231
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 54 of 80 PageID #:
                                    2922

 Application/Control Number: 11/370,618                                                                   Page 2
 Art Unit: 2116

                                           DETAILED ACTION

                                  Claim Rejections - 35 USC§ 103

        The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

 obviousness rejections set forth in this Office action:

        (a) A patent may not be obtained though the invention is not identically disclosed or described as set
        forth in section 102 of this title, if the differences between the subject matter sought to be patented and
        the prior art are such that the subject matter as a whole would have been obvious at the time the
        invention was made to a person having ordinary skill in the art to which said subject matter pertains.
        Patentability shall not be negatived by the manner in which the invention was made.

        The factual inquiries set forth in Graham v. John Deere Co., 383 U.S. 1, 148

 USPQ 459 (1966), that are applied for establishing a background for determining

 obviousness under 35 U.S.C. 103(a) are summarized as follows:

        1.      Determining the scope and contents of the prior art.
        2.      Ascertaining the differences between the prior art and the claims at issue.
        3.      Resolving the level of ordinary skill in the pertinent art.
        4.      Considering objective evidence present in the application indicating
                obviousness or nonobviousness.

 1.     Claims 1-20 are rejected under 35 U.S.C. 103(a) as being unpatentable over

 Jochiong et al.[Jochiong](US Patent 6,851,068) in view of Liu(US PGPub

 2005/0099753).



 As to claims 1. 13. and 19

        Jochiong discloses an apparatus/circuit card(system 100, see Fig. 1) comprising

 one or more devices(peripheral sub-system 104, 404, and 406, see Figs. 1 and 4) for

 performing operations associated with the apparatus/circuit card(see column 4, lines 9-

 19); a controller(host system 104, see Fig. 1) for controlling operation of the devices(see

 column 3, lines 58-60), and a switch(power control sensing circuitry 110, see Figs. 1
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 55 of 80 PageID #:
                                    2923

 Application/Control Number: 11/370,618                                                   Page 3
 Art Unit: 2116

 and 2) for switchably coupling electrical power to the device to enable the device to

 operate(see column 4, lines 20-39), and the controller/device including a

 module(comparator 204, see Fig. 2A) for controlling the switch to decouple the electrical

 power from the device(see column 4, lines 26-45). However, Jochiong fails to

 specifically disclose the apparatus further comprising a switch controller for controlling

 the switch to restore the electrical power to the device a predetermined time after the

 switch decouples the electrical power from the device.

        Liu teaches an apparatus comprising a switch controller(control circuit 15, see

 Fig. 1) for controlling a switch(transient voltage suppressor 14, see Fig. 1) to restore

 electrical power to a device(electric equipment 13, see Fig. 1) a predetermined time

 after the switch decouples the electrical power from the device(see paragraph 0014,

 lines 6-13). It would have been obvious to one of ordinary skill in the art at the time the

 invention was made to combine Liu's control circuit 15 with Jochiong's system 100 in

 order to control Jochiong's power control sensing circuitry 110 in the same manner.

 The motivation to do so would have been to automatically resume the power after the

 power disconnection for a certain amount of time(see Liu paragraph 0014, lines 12-13).



 As to claim 2

        Liu teaches the apparatus wherein said switch controller is operable

 independently of said controller for controlling the switch to restore said electrical

 power(see paragraph 0014, lines 6-8).
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 56 of 80 PageID #:
                                    2924

 Application/Control Number: 11/370,618                                               Page 4
 Art Unit: 2116

 As to claim 3

        Jochiong and Liu teach the apparatus wherein said switch is adapted to

 switchably couple electrical power to the controller to enable the controller to

 operate(see Jochiong column 4, lines 20-39), said module is arranged for controlling the

 switch to decouple the electrical power from the device and the controller(see Jochiong

 column 4, lines 26-45), and the switch controller is adapted for controlling the switch to

 restore the electrical power to the device and to the controller a predetermined time

 after the switch decouples the electrical power from the device and the controller(see

 Liu paragraph 0014, lines 6-13).



 As to claims 4 and 15

        Liu teaches the apparatus/circuit card wherein the switch controller comprises a

 timing circuit(timer; see paragraph 0014, line 2).



 As to claim 5

        Liu teaches the apparatus wherein the timing circuit is electrically isolated from

 the controller(see paragraph 0014, lines 1-2).



 As to claim 6

        Liu teaches the apparatus wherein the device has capacitance and the

 predetermined period of time is sufficient to substantially discharge said capacitance
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 57 of 80 PageID #:
                                    2925

 Application/Control Number: 11/370,618                                               Page 5
 Art Unit: 2116

 after power is decoupled from the device(see paragraph 0019).



 As to claim 7

          Jochiong discloses the apparatus wherein the module for controlling the switch is

 configured to send a command to the switch to cause said switch to decouple said

 electrical power(see column 4, lines 41-47).



 As to claims 8 and 17

          Jochiong discloses the apparatus further comprising a verifier(circuit 208, see

 Fig. 2B) for verifying that the command is a valid command for decoupling power from

 the device, and wherein said verifier comprises a sequence decoder for decoding a

 coded sequence and verifying that the decoded sequence is a correct sequence(see

 column 4, lines 41-44).



 As to claim 9

          Liu teaches the apparatus further comprising a power converter(power supply

 output terminal 12, see Fig. 1) for receiving power from a power source(power supply

 11, see Fig. 1) and supplying converted power to said device, and wherein said switch

 is adapted for switchably coupling the converted power to said device(see paragraph

 0014).



 As to claim 10
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 58 of 80 PageID #:
                                    2926

 Application/Control Number: 11/370,618                                               Page 6
 Art Unit: 2116

         Liu teaches the apparatus wherein said switch is configured for switchably

 coupling said power converter to said source of electrical power(see paragraph 0014).



 As to claim 11

         Jochiong discloses the apparatus further comprising a substrate, and wherein

 said controller and said device are both disposed on said substrate(see column 4, lines

 6-9).



 As to claim 12

         Jochiong discloses the apparatus wherein the device comprises a data storage

 device(see column 4, lines 12-13).



 As to claim 14

         Liu teaches the circuit card wherein said switch is responsive to said command

 for decoupling electrical power to said controller for a predetermined period of time(see

 paragraph 0014, lines 1-13).



 As to claim 16

         Liu teaches the circuit card wherein, in response to the command, the timing

 circuit sends a signal to an electrical power device that causes the electrical power to be

 decoupled from the device and after the predetermined period of time sends a signal to

 the electrical power device that causes the electrical power to said device to be
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 59 of 80 PageID #:
                                    2927

 Application/Control Number: 11/370,618                                                Page 7
 Art Unit: 2116

 restored(see paragraph 0014, lines 6-13).



 As to claim 18

       Jochiong discloses the apparatus wherein the verifier requires both the correct

 sequence and an enable command before controlling the switch to decouple the

 electrical power from at least one device(see column 4, lines 41-44 ).



 As to claim 20

       Jochiong discloses the apparatus further comprising at least one of (a) an

 interface for receiving a control signal for causing said module to control said switch,

 and (b) a detector for detecting a condition of said apparatus, and wherein said module

 is responsive to the detection of said condition to control said switch to decouple

 electrical power from said device(see column 4, lines 20-39).



                                 Response to Arguments

 2.    Applicant's arguments, see Remarks, filed 9/25/2008, with respect to the

 rejection(s) of claim(s) 1-20 under 35 U.S.C. 103(a) as being unpatentable over

 O'Meany(US PGPub 2002/0023233) in view of Ginggen et al.[Ginggen](US PGPub

 2006/0271797), and further in view of Kobayashi(US Patent 6,625,739) have been fully

 considered and are persuasive. Therefore, the rejection has been withdrawn.

 However, upon further consideration, a new ground(s) of rejection is made in view of
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 60 of 80 PageID #:
                                    2928

 Application/Control Number: 11/370,618                                            Page 8
 Art Unit: 2116

 Jochiong et al.[Jochiong](US Patent 6,851,068) in view of Liu(US PGPub

 2005/0099753).



                                       Conclusion

       Any inquiry concerning this communication or earlier communications from the

 examiner should be directed to Michael J. Brown whose telephone number is (571 )272-

 5932. The examiner can normally be reached Monday-Thursday from 7:00am-5:30pm.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

 supervisor, Thomas Lee can be reached at (571 )272-3667. The fax phone number for

 the organization where this application or proceeding is assigned is 571-273-8300.

        Information regarding the status of an application may be obtained from the

 Patent Application Information Retrieval (PAIR) system. Status information for

 published applications may be obtained from either Private PAIR or Public PAIR.

 Status information for unpublished applications is available through Private PAIR only.

 For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

 you have questions on access to the Private PAIR system, contact the Electronic

 Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

 USPTO Customer Service Representative or access to the automated information

 system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.



 /Michael J Brown/
 Examiner, Art Unit 2116
                                          /Thomas Lee/
                                          Supervisory Patent Examiner, Art Unit 2115
              Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 61 of 80 PageID #:
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      11/370,618                          DOYON ET AL.
                  Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      Michael J. Brown                    2116
                                                                           U.S. PATENT DOCUMENTS
                        Document Number                     Date
 *                Country Code-Number-Kind Code          MM-YYYY                                      Name                                     Classification

 *       A      US-6,851,068                            02-2005           Jochiong et al.                                                        713/330

 *       B      US-2005/0099753                         05-2005           Liu, Szu-Ping                                                          361/118

 *       C      US-5,353,240                            10-1994           Mallory et al.                                                         702/186

         D      US-

         E      US-

         F      US-

         G      US-

         H      US-

          I     US-

         J      US-

         K      US-

         L      US-

         M      US-
                                                                       FOREIGN PATENT DOCUMENTS
                        Document Number                     Date
 *                Country Code-Number-Kind Code          MM-YYYY                  Country                       Name                           Classification

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                        Part of Paper No. 20081231
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 62 of 80 PageID #:
                                    2930



              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


 Appl. No.             11/370,618                     Confirmation No.     3411
 Applicant             Eric Doyon et al.
 Filed                 March 8, 2006
 TC/A.U.               2116
 Examiner              Michael J. Brown

 Docket No.            195006-00977
 Customer No.          46361


                                           AMENDMENT

 Mail Stop Amendment                                                         March 27, 2009
 Commissioner for Patents
 P.O. Box 1450
 Alexandria, VA 22313-14 5 0


 Dear Sir:


          In response to the Office Action of January 5, 2009, please amend this application as
 follows:


 Amendments to the Claims are reflected in the listing of claims which begins on page 2 of this
 paper.


 Remarks begin on page 6 of this paper.




                                                  1
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 63 of 80 PageID #:
                                    2931
 Appl. No. 11/3 70,618



 Amendments to the Claims:


 This listing of claims will replace all prior versions, and listings, of claims in the application:


 Listing of Claims:


 1. (Currently Amended) l\n apparatus A circuit card comprising:

                  a device;

                  a controller for controlling operation of the device, and

                  a switch for switchably coupling electrical power to the device to enable the
 device to operate,

                  the controller including a module for controlling the switch to decouple the
 electrical power from the device,

                  and the apparatus circuit card further comprising a switch controller for
 controlling the switch to restore the electrical power to the device a predetermined time after the
 switch decouples the electrical power from the device.

 2. (Currently Amended)       fill   apparatus The circuit card as claimed in claim 1, wherein said switch
 controller is operable independently of said controller for controlling the switch to restore said
 electrical power.

 3. (Currently Amended)       fill   apparatus The circuit card as claimed in claim 2, wherein said switch
 is adapted to switchably couple electrical power to the controller to enable the controller to
 operate, said module is arranged for controlling the switch to decouple the electrical power from
 the device and the controller, and the switch controller is adapted for controlling the switch to
 restore the electrical power to the device and to the controller a predetermined time after the
 switch decouples the electrical power from the device and the controller.

 4. (Currently Amended) The apparatus circuit card of claim 1, wherein the switch controller
 comprises a timing circuit.


                                                        2
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 64 of 80 PageID #:
                                    2932
 Appl. No. 11/3 70,618



 5. (Currently Amended) The apparatus circuit card of claim 4, wherein the timing circuit is
 electrically isolated from the controller.

 6. (Currently Amended) The apparatus circuit card of claim 1, wherein the device has
 capacitance and the predetermined period of time is sufficient to substantially discharge said
 capacitance after power is decoupled from the device.

 7. (Currently Amended) The apparatus circuit card of claim 1, wherein the module for
 controlling the switch is configured to send a command to the switch to cause said switch to
 decouple said electrical power.

 8. (Currently Amended) The apparatus circuit card of claim 7, further comprising a verifier for
 verifying that the command is a valid command for decoupling power from the device.

 9. (Currently Amended) The apparatus circuit card of claim 1, further comprising a power
 converter for receiving power from a power source and supplying converted power to said
 device, and wherein said switch is adapted for switchably coupling the converted power to said
 device.

 10. (Currently Amended) The apparatus circuit card of claim 9, wherein said switch is
 configured for switchably coupling said power converter to said source of electrical power.

 11. ( Currently Amended) The apparatus circuit card of claim 1, further comprising a substrate,
 and wherein said controller and said device are both disposed on said substrate.

 12. (Currently Amended) The apparatus circuit card of claim 1, wherein the device comprises a
 data storage device.

 13. (Original) A circuit card comprising:

                  one or more devices,

                  a controller for controlling operation of the circuit card, and




                                                    3
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 65 of 80 PageID #:
                                    2933
 Appl. No. 11/3 70,618



                  a switch responsive to a command received from the controller, for causing
 electrical power to at least one device to be decoupled therefrom for a predetermined period of
 time.

 14. (Currently Amended) [[A]] The circuit card as claimed in claim 13, wherein said switch is
 responsive to said command for decoupling electrical power to said controller for a
 predetermined period of time.

 15. (Original) The circuit card according to claim 13, wherein the switch comprises a timing
 circuit.

 16. (Original) The circuit card according to claim 13, wherein, in response to the command, the
 timing circuit sends a signal to an electrical power device that causes the electrical power to be
 decoupled from the device and after the predetermined period of time sends a signal to the
 electrical power device that causes the electrical power to said device to be restored.

 17. (Currently Amended) [[A]] The circuit card according to claim 13, further comprising a
 verifier for verifying that the command is a valid command for decoupling the electrical power
 from the controller, and wherein said verifier comprises a sequence decoder for decoding a
 coded sequence and verifying that the decoded sequence is a correct sequence.

 18. (Currently Amended) The apparatus circuit card of claim 17, wherein the verifier requires
 both the correct sequence and an enable command before controlling the switch to decouple the
 electrical power from at least one device.

 19. (Currently Amended) l\n apparatus A circuit card comprising:

                  a device for performing operations associated with the apparatus circuit card,

                  a switch for switchably coupling electrical power to the device to enable the
 device to operate,

                  the device including a module for controlling the switch to decouple electrical
 power from the device, and




                                                   4
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 66 of 80 PageID #:
                                    2934
 Appl. No. 11/3 70,618



                  the apparatus circuit card further comprises a switch controller for controlling the
 switch to restore electrical power to the device a predetermined time after the switch decouples
 electrical power from the device.

 20. (Currently Amended) l\n apparatus The circuit card as claimed in claim 19, further
 comprising at least one of (a) an interface for receiving a control signal for causing said module
 to control said switch, and (b) a detector for detecting a condition of said apparatus circuit card,
 and wherein said module is responsive to the detection of said condition to control said switch to
 decouple electrical power from said device.




                                                    5
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 67 of 80 PageID #:
                                    2935
 Appl. No. 11/3 70,618



                                     REMARKS/ARGUMENTS


 Claims 1 to 20 are pending in this application.


 Claims 1 to 20 are rejected.


 Amendments


 The claims have been amended in the manner shown in the Listing of Claims. Claims 1 to 12
 and 18 to 20 have been amended to replace "apparatus" with "circuit card".


 35 USC. 103(a) re;ections


 Claims 1-20 are rejected under 35 U.S.C. 103(a) on the ground of being unpatentable over U.S.
 Patent No. 6,851,068 to Jochiong et al. (hereinafter "Jochiong") in view of U.S. Patent
 Application Publication No. 2005/0099753 to Liu (hereinafter "Liu").


 Applicants respectfully submit that the amended claims overcome this rejection for the reasons
 that follow.


 The Supreme Court in KSR International Co. v. Teleflex Inc. (KSR), 82 USPQ2d 1385 (2007),
 reaffirmed the framework for determining obviousness as set forth in Graham v. John Deere Co.,
 383 U.S. 1, 148 USPQ 459 (1966). Obviousness is a question oflaw based on underlying factual
 inquiries. The factual inquiries enunciated by the Court are as follows:


         (A) ascertaining the scope and content of the prior art; and
         (B) ascertaining the differences between the claimed invention and the prior art; and
         (C) resolving the level of ordinary skill in the pertinent art.




                                                    6
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 68 of 80 PageID #:
                                    2936
 Appl. No. 11/3 70,618



 Scope and content of the prior art


 With respect to the scope and content of the prior art, it is respectfully submitted that the
 Examiner has erred in ascertaining the scope of Jochiong and Liu for the reasons that follow.


 With respect to claims 1, 13, and 19 the Examiner alleges that Jochiong discloses an
 apparatus/circuit card comprising one or more devices, a controller for controlling operation of
 the device, and a switch for switchably coupling power to the device to enable the device to
 operate, the controller including a module for controlling the switch to decouple the electrical
 power from the device. However, Jochiong discloses a system 100 comprising a host system
 and peripheral devices. It is respectfully submitted that the system 100 disclosed in Jochiong
 cannot be interpreted as disclosing or suggesting a "circuit card" comprising the devices and
 switch. There are no examples given for what the system 100 may be but examples are given as
 to what the host system could be. The examples include a workstation or a server. It is
 respectfully submitted that a system that comprises a workstation or server could not be a
 "circuit card". Claims 1 and 19 have been amended to recite a circuit card.


 Therefore, it is respectfully submitted that the Examiner has failed to meet at least the first part
 of the test from KSR with respect to independent claims 1, 13 and 19. The dependent claims
 include all of the features of their respective independent claims and therefore the same
 arguments apply. Further errors were made with respect to interpreting the prior art as applied to
 the limitations of at least the following dependent claims as well.


 With respect to claim 5, the cited portion of Liu does not disclose electrically isolating the real
 time clock. Rather it states: "A control chip 151 of the control circuit 15 has a timer (not shown
 in the figures)." The timer in the cited part of Liu is therefore part of the controller. There is no
 disclosure of electrically isolating the timer from the controller.


 With respect to claim 6, while the cited portion of Liu discloses capacitors, these capacitors are
 part of the device 10, which is the power supply protector. They are used by the protector to
 eliminate surge. The power supply protector disclosed in Liu is not configured to decouple a



                                                   7
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 69 of 80 PageID #:
                                    2937
 Appl. No. 11/3 70,618



 device from its power for a time period sufficient to discharge capacitance in the device from
 which the power was decoupled. The closest disclosure in Liu to the "device" claimed in the
 present invention is the electrical equipment 13 and there is no mention of the electrical
 equipment having a capacitance or that the time period during which power is decoupled should
 be sufficient to discharge such a capacitance.


 With respect to claims 8 and 17, the cited portion of Jochiong states: "Still in connection with
 FIG. 2, in comparator 204, if the voltage on the incoming signal 112 is lower than the threshold
 value, this indicates that the heartbeat signal is not present and a power down pulse is triggered
 in the circuit at 208." It is respectfully submitted that comparing the voltage of an incoming
 signal to a threshold value is not equivalent to verifying the "validity" of a "command". The
 command referred to in claim 8 is a command to the switch to cause the switch to decouple the
 electrical power. The incoming signal 112 in Jochiong is, for example, a heartbeat signal or
 timing signal, not a command. Furthermore, there is certainly no disclosure of a sequence
 decoder or decoding a coded sequence in order to verify if a command is valid, as required by
 claim 17.


 With respect to claim 11, the Examiner indicates Jochiong discloses the controller and device are
 both disposed on the same substrate. However, the cited portion of Jochiong states: "The host
 system 102 and the peripheral expansion subsystem 104 may be co-located for example within
 the same rack mounting in a data center or may be in geographically distinct locations." It is
 respectfully submitted that a person skilled in the art would not interpret a rack mounting in a
 data center to be a substrate and that the Examiner's interpretation is in error.


 Differences between the claimed invention and the prior art


 Many differences between the claimed invention and the cited references are described above. It
 is respectfully submitted that the Examiner has erred in not properly ascertaining these
 differences.




                                                   8
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 70 of 80 PageID #:
                                    2938
 Appl. No. 11/3 70,618



 In particular, the Examiner has failed to ascertain that claim 13 was directed to a circuit card and
 that the system 100 of Jochiong could not be implemented on a circuit card. As mentioned
 above, all of the claims are now directed to a circuit card and therefore, also differ over the cited
 references for at least this reason.


 Person skilled in the art


 The Examiner has not provided any evidence of the level of ordinary skill in the pertinent art and
 therefore has failed to meet this part of the test from KSR.


 Conclusion


 For at least the reasons given above, it is respectfully requested that the rejections under 35
 U.S.C. 103(a) be withdrawn.


 In view of the foregoing, favourable reconsideration and early allowance of this application are
 respectfully requested.


                                                Respectfully submitted,

                                                ERIC DOYON ET AL.

                                                By       /Kirk D. Houser/
                                                         Kirk D. Houser
                                                         Reg. No. 37,357
                                                         Attorney for Applicants
 Tel.: 412-566-6083




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           Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 71 of 80 PageID #:
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                     UNITED STAIBS            p AIBNT AND TRADEMARK OFFICE
                                                                                                         UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                         United States Patent and Trademark Office
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                                                                                                                 Alexandria., Virginia 22313-1450
                                                                                                                 www.uspto.gov




                                       NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                                 EXAMINER
       46361           7590             06/26/2009
                                                                                                                           BROWN, MICHAEL J
    ECKERT SEAMANS CHERIN & MELLOTT, LLC.
    600 GRANT STREET, 44TH FLOOR                                                                                ART UNIT                       PAPER NUMBER
    PITTSBURGH, PA 15219                                                                                           2116
                                                                                                       DATE MAILED: 06/26/2009




    APPLICATION NO.             FILING DATE                      FIRST NAMED INVENTOR                   ATTORNEY DOCKET NO.                  CONFIRMATION NO.

       11/370,618                03/08/2006                           Eric Doyon                               195006-00977                          3411
TITLE OF INVENTION: POWER CYCLE CIRCUIT




    APPLN. TYPE           SMALL ENTITY           ISSUE FEE DUE   PUBLICATION FEE DUE    PREV. PAID ISSUE FEE     TOTAL FEE(S) DUE                   DATE DUE

    nonprovisional              NO                    $1510              $300                    $0                       $1810                     09/28/2009

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED.            THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the SMALL ENTITY status shown above.
If the SMALL ENTITY is shown as YES, verify your current                        If the SMALL ENTITY is shown as NO:
SMALL ENTITY status:
A. If the status is the same, pay the TOT AL FEE(S) DUE shown                   A. Pay TOT AL FEE(S) DUE shown above, or
above.
B. If the status above is to be removed, check box 5b on Part B -               B. If applicant claimed SMALL ENTITY status before, or is now
Fee(s) Transmittal and pay the PUBLICATION FEE (if required)                    claiming SMALL ENTITY status, check box 5a on Part B - Fee(s)
and twice the amount of the ISSUE FEE shown above, or                           Transmittal and pay the PUBLICATION FEE (if required) and 1/2
                                                                                the ISSUE FEE shown above.

IL PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
Mail Stop ISSUE FEE unless advised to the contrary.
IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance fees when due.

                                                                     Page 1 of 3
PTOL-85 (Rev. 08/07) Approved for use through 08/31/2010.
            Case 1:20-cv-01228-CFC-JLH PART
                                        Document   113-7
                                            B - FEE(S)    Filed 01/27/22 Page 72 of 80 PageID #:
                                                       TRANSMITTAL
                                                   2940
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                  or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks I through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block I, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block I for any change of address)               Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                              Fee(s) Transmittal. This certificate cannot be used for any other accompanying
                                                                                              papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmission.
         46361            7590               06/26/2009
                                                                                                                         Certificate of Mailing or Transmission
    ECKERT SEAMANS CHERIN & MELLOTT, LLC.                                                            I hereby certify that this Fee(s) Transmittal is being deposited with the United
    600 GRANT STREET, 44TH FLOOR                                                                     States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    PITTSBURGH, PA 15219                                                                             transmitted to the USPTO (571) 273-2885, on the date indicated below.
                                                                                                                                                                      (Depositor's name)

                                                                                                                                                                             (Signature)

                                                                                                                                                                                  (Date)


    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                              ATTORNEY DOCKET NO.           CONFIRMATION NO.

         11/370,618                  03/08/2006                                      Eric Doyon                                    195006-00977                      3411
TITLE OF INVENTION: POWER CYCLE CIRCUIT




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     nonprovisional                 NO                      $1510                       $300                           $0                    $1810                 09/28/2009

                   EXAMINER                               ART UNIT               CLASS-SUBCLASS

             BROWN, MICHAEL J                                2116                   713-300000
I. Change of correspondence address or indication of "Fee Address" (37           2. For printing on the patent front page, list
CFR 1.363).
                                                                                 (I) the names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence               or agents OR, alternatively,
   Address form PTO/SB/122) attached.                                                                                                      2_ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                 (2) the name of a single firm (having as a member a
   0 "Fee Address" indication (or "Fee Address" Indication form                  registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use ofa Customer               2 registered patent attorneys or agents. If no name is    3_ _ _ _ _ _ _ _ _ _ _ _ _ __
   Number is required.                                                           listed, no name will be printed.

3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)




Please check the appropriate assignee category or categories (will not be printed on the patent) :    0   Individual    O Corporation or other private group entity O Government
4a. The following fee(s) are submitted:                                   4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   0   Issue Fee                                                             0 A check is enclosed.
   0   Publication Fee (No small entity discount permitted)                  0 Payment by credit card. Form PTO-2038 is attached.
   0   Advance Order - # of Copies _ _ _ _ _ _ _ _ __                        0The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any
                                                                               overpayment, to Deposit Account Number _ _ _ _ _ _ (enclose an extra copy of this form).
5. Change in Entity Status (from status indicated above)
   0 a. Applicant claims SMALL ENTITY status. See 37 CFR 1.27.               0    b. Applicant is no longer claiming SMALL ENTITY status. See 37 CFR l.27(g)(2).
NOTE: The Issue Fee and Publication Fee (if required) will not be accepted from anyone other than the applicant; a registered attorney or agent; or the assignee or other party in
interest as shown by the records of the United States Patent and Trademark Office.


   Authorized Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Typed or printed name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

This collection of information is required by 37 CFR 1.311. The information is required to obtain or retain a benefit by the public which is to file (and by the US PTO to process)
an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering, preparing, and
submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to complete
this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department of Commerce, P.O.
Box 1450, Alexandria, Virginia 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450,
Alexandria, Virginia 22313-1450.
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid 0MB control number.



PTOL-85 (Rev. 08/07) Approved for use through 08/31/2010.                      0MB 0651-0033            U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
           Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 73 of 80 PageID #:
                                               2941
                    UNITED STAIBS             p AIBNT AND TRADEMARK OFFICE
                                                                                     UNITED STATES DEPARTMENT OF COMMERCE
                                                                                     United States Patent and Trademark Office
                                                                                     Address: COMMISSIONER FOR PATENTS
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                                                                                          www.uspto.gov



    APPLICATION NO.             FILING DATE                 FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.                CONFIRMATION NO.

       11/370,618                03/08/2006                      Eric Doyon             195006-00977                         3411

                                                                                                          EXAMINER
       46361           7590             06/26/2009
                                                                                                    BROWN, MICHAEL J
    ECKERT SEAMANS CHERIN & MELLOTT, LLC,
    600 GRANT STREET, 44TH FLOOR                                                         ART UNIT                       PAPER NUMBER
    PITTSBURGH, PA 15219                                                                    2116
                                                                                   DATE MAILED: 06/26/2009




                                Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                            (application filed on or after May 29, 2000)

The Patent Term Adjustment to date is 415 day(s). If the issue fee is paid on the date that is three months after the
mailing date of this notice and the patent issues on the Tuesday before the date that is 28 weeks (six and a half
months) after the mailing date of this notice, the Patent Term Adjustment will be 415 day(s).

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information Retrieval
(PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101                or
(571)-272-4200.




                                                                Page 3 of 3
PTOL-85 (Rev. 08/07) Approved for use through 08/31/2010.
      Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 74 of 80 PageID #:
                                          2942Application No.       Applicant(s)

                                                                 11/370,618                     DOYON ET AL.
                            Interview Summary
                                                                 Examiner                       Art Unit

                                                                 Michael J. Brown               2116


   All participants (applicant, applicant's representative, PTO personnel):

 (1) Michael J. Brown.                                             (3)_ _ .

 (2) Kirk 0. Houser.                                               (4)_ _ .

      Date of Interview: 17 June 2009.

      Type: a)[8J Telephonic b)D Video Conference
            c)D Personal [copy given to: 1)0 applicant        2)0 applicant's representative]

   Exhibit shown or demonstration conducted:      d)D Yes       e)[8J No.
       If Yes, brief description: _ _ .

   Claim(s) discussed: 1.13.16.and 19.

   Identification of prior art discussed: NA.

   Agreement with respect to the claims f)[8J was reached. g)O was not reached.      h)D N/A.


   Substance of Interview including description of the general nature of what was agreed to if an agreement was
   reached, or any other comments: Examiner wanted to speak with the attorney to discuss an amendment proposal to
   put the application in condition for allowance. Mr. Houser agreed with the proposed amendments and gave Examiner
   permission to do an Examiner's Amendment and therefore send out a Notice of Allowance.

   (A fuller description, if necessary, and a copy of the amendments which the examiner agreed would render the claims
   allowable, if available, must be attached. Also, where no copy of the amendments that would render the claims
   allowable is available, a summary thereof must be attached.)

 THE FORMAL WRITTEN REPLY TO THE LAST OFFICE ACTION MUST INCLUDE THE SUBSTANCE OF THE
 INTERVIEW. (See MPEP Section 713.04). If a reply to the last Office action has already been filed, APPLICANT IS
 GIVEN A NON-EXTENDABLE PERIOD OF THE LONGER OF ONE MONTH OR THIRTY DAYS FROM THIS
 INTERVIEW DATE, OR THE MAILING DATE OF THIS INTERVIEW SUMMARY FORM, WHICHEVER IS LATER, TO
 FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW. See Summary of Record of Interview
 requirements on reverse side or on attached sheet.




  /Michael J Brown/
  Examiner, Art Unit 2116
                                                                                                                       I
U.S. Patent and Trademark Office
PTOL-413 (Rev. 04-03)                                  Interview Summary                                   PaperNo.20090617
              Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 75 of 80 PageID #:
                                                  2943
                                                                               Application No.                      Applicant(s)

                                                                               11/370,618                           DOYON ET AL.
                            Notice of Allowability                             Examiner                             Art Unit

                                                                               Michael J. Brown                     2116

             -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.

1. IZI This communication is responsive to Amendments filed on 3/27/2009.
2. IZI The allowed claim(s) is/are 1-20.

3. D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
             a)   D   All      b)   D   Some*   c)   D   None   of the:
                      1.   D Certified copies of the priority documents have been received.
                      2.   D Certified copies of the priority documents have been received in Application No. _ _ .
                      3.   D Copies of the certified copies of the priority documents have been received in this national stage application from the
                              International Bureau (PCT Rule 17.2(a)).
          * Certified copies not received: _ _ .

     Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
     noted below. Failure to timely comply will result in ABANDONMENT of this application.
     THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.

4.    0   A SUBSTITUTE OATH OR DECLARATION must be submitted. Note the attached EXAMINER'S AMENDMENT or NOTICE OF
          INFORMAL PATENT APPLICATION (PTO-152) which gives reason(s) why the oath or declaration is deficient.

5.    D CORRECTED DRAWINGS ( as "replacement sheets") must be submitted.
       (a)   D    including changes required by the Notice of Draftsperson's Patent Drawing Review ( PTO-948) attached
                      1)   D hereto or 2) D     to Paper No./Mail Date _ _ .
       (b)   D    including changes required by the attached Examiner's Amendment/ Comment or in the Office action of
                  Paper No./Mail Date _ _ .
      Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the drawings in the front (not the back) of
      each sheet. Replacement sheet(s) should be labeled as such in the header according to 37 CFR 1.121(d).

6. □ DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
          attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.




Attachment(s)
1. D Notice of References Cited (PTO-892)                                              5.   D Notice of Informal Patent Application
2.   D Notice of Draftperson's Patent Drawing Review (PTO-948)                         6. [8] Interview Summary (PTO-413),
                                                                                               Paper No./Mail Date 6/17/2009.
3.   D Information Disclosure Statements (PTO/SB/08),                                  7. [8J Examiner's AmendmenUComment
          Paper No./Mail Date _ _
4.   D Examiner's Comment Regarding Requirement for Deposit                            8.   D Examiner's Statement of Reasons for Allowance
          of Biological Material
                                                                                       9.   D Other _ _ .
/Michael J Brown/                                                                      /Thomas Lee/
Examiner, Art Unit 2116                                                                Supervisory Patent Examiner, Art Unit 2115



 U.S. Patent and Trademark Office
 PTOL-37 (Rev. 08-06)                                                     Notice of Allowability                       Part of Paper No./Mail Date 20090617
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 76 of 80 PageID #:
                                    2944

 Application/Control Number: 11/370,618                                                Page 2
 Art Unit: 2116

                                EXAMINER'S AMENDMENT

 1.     An examiner's amendment to the record appears below. Should the changes

 and/or additions be unacceptable to applicant, an amendment may be filed as provided

 by 37 CFR 1.312. To ensure consideration of such an amendment, it MUST be

 submitted no later than the payment of the issue fee.

        Authorization for this examiner's amendment was given in a telephone interview

 with Kirk D. Houser on 6/17/2009.

        The application has been amended as follows: claims 1, 13, 16, and 19 are

 amended as follows:



        1. (Currently Amended) A circuit card comprising:

        a device;

        a controller for controlling operation of the device, and

        a switch for switchably coupling electrical power to the device to enable the

 device to operate,

        the controller including a module for controlling the switch to decouple the

 electrical power from the device,

        and the circuit card further comprising a switch controller, operable independent

 of the controller, for controlling the switch, if the switch also decouples electrical power

 from the controller, to restore the electrical power to the device and the controller a

 predetermined time after the switch decouples the electrical power from the device and

 the controller.
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 77 of 80 PageID #:
                                    2945

 Application/Control Number: 11/370,618                                                     Page 3
 Art Unit: 2116



        13. (Currently Amended) A circuit card comprising:

        one or more devices,

        a controller for controlling operation of the circuit card,   aoo
        a switch responsive to a command received from the controller, for causing

 electrical power to at least one device to be decoupled therefrom for a predetermined

 period of time, and

        an electrical power device, operable independent of the controller, that causes

 electrical power to the at least one device and the controller to be restored after the

 predetermined time period if the electrical power was also decoupled from the

 controller.



        16. (Currently Amended) The circuit card according to claim 4-J 1.§, wherein, in

 response to the command, the timing circuit sends a signal to        aA-   the electrical power

 device that causes the electrical power to be decoupled from the device and after the

 predetermined period of time sends a signal to the electrical power device that causes

 the electrical power to said device to be restored.



        19. (Currently Amended) A circuit card comprising:

        a device for performing operations associated with the circuit card,

        a switch for switchably coupling electrical power to the device to enable the

 device to operate,
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 78 of 80 PageID #:
                                    2946

 Application/Control Number: 11/370,618                                              Page 4
 Art Unit: 2116

        the device including a module for controlling the switch to decouple electrical

 power from the device, and

        the circuit card further comprises a switch controller, operable independent of the

 device, for controlling the switch to restore electrical power to the device a

 predetermined time after the switch decouples electrical power from the device if the

 switch decoupled electrical power from the device.




                                         Conclusion

        Any inquiry concerning this communication or earlier communications from the

 examiner should be directed to Michael J. Brown whose telephone number is (571 )272-

 5932. The examiner can normally be reached Monday-Thursday from 7:00am-5:30pm.

        If attempts to reach the examiner by telephone are unsuccessful, the examiner's

 supervisor, Thomas Lee can be reached at (571 )272-3667. The fax phone number for

 the organization where this application or proceeding is assigned is 571-273-8300.
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 79 of 80 PageID #:
                                    2947

 Application/Control Number: 11/370,618                                            Page 5
 Art Unit: 2116

        Information regarding the status of an application may be obtained from the

 Patent Application Information Retrieval (PAIR) system. Status information for

 published applications may be obtained from either Private PAIR or Public PAIR.

 Status information for unpublished applications is available through Private PAIR only.

 For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

 you have questions on access to the Private PAIR system, contact the Electronic

 Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

 USPTO Customer Service Representative or access to the automated information

 system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




 /Michael J Brown/
 Examiner, Art Unit 2116

                            /Thomas Lee/
                            Supervisory Patent Examiner, Art Unit 2115
Case 1:20-cv-01228-CFC-JLH Document 113-7 Filed 01/27/22 Page 80 of 80 PageID #:
                                    2948



             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


 Appl. No.             11/370,618                      Confirmation No.   3411
 Applicant             Eric Doyon et al.
 Filed                 March 8, 2006
 TC/A.U.               2116
 Examiner              Michael J. Brown

 Docket No.            195006-00977
 Customer No.          46361

                                                                                   July 13, 2009

                  STATEMENT OF THE SUBSTANCE OF THE INTERVIEW

                  The undersigned attorney and Examiner Michael J. Brown discussed the present
 application by telephone on June 17, 2009. The following is the Statement of the Substance of
 the Interview:
                  1. No exhibit was shown or discussed.
                  2. Claims 1, 13, 16 and 19 were discussed.
                  3. No prior art was discussed.
                  4. Amendments to Claims 1, 13, 16 and 19 were discussed.
                  5. The Examiner initiated the telephone interview in order to review proposed
 amendments to the claims prior to issuance of an Examiner's Amendment.
                  6. No other pertinent matters were discussed.
                  7. Agreement was reached with the Examiner regarding the proposed

 amendments. The Examiner's Interview Summary, mailed on June 26, 2009, is correct.


                                               Respectfully submitted,
                                               ERIC DOYON ET AL.
                                        By:    /Kirk D. Houser/
                                               Kirk D. Houser
                                               Reg. No. 37,357
                                               Attorney for Applicants
 Tel.: 412-566-6083




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